Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 1 of 136




                 EXHIBIT A
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 2 of 136
                                                                     ID# 2020-0105987-CV

                                                                                     CLERK OF SUPERIOR COURT
                                                                                      COBB COUNTY, GEORGIA
                                                                                         20106125
                                                                                     C. LaTain Kell Sr. - 49
                                                                                     SEP 30, 2020 04:43 PM
                          SUPERIOR COURT OF COBB COUNTY
                                 STATE OF GEORGIA

                                                     )
RANDSTAD TECHNOLOGIES, LLC,                          )
                                                     )
                      Plaintiff,                     )   CIVIL ACTION
                                                     )
v.                                                   )   FILE NO. _______________
                                                     )
LISETTE ROBLES,                                      )   JURY TRIAL DEMANDED
                                                     )
                      Defendant.                     )
                                                     )
                                                     )

                         COMPLAINT FOR INJUNCTIVE RELIEF

       Plaintiff Randstad Technologies, LLC (“Randstad”) files this Complaint for Injunctive

Relief (“Complaint”) against Defendant Lisette Robles (“Robles”).

                                       INTRODUCTION

       1.      This is an action by Randstad, a Cobb County business, for injunctive relief arising

out of Robles’ ongoing and imminent scheme to unfairly compete against Randstad. In this

lawsuit, Randstad seeks to enforce an Employee Non-Competition and Confidentiality Agreement

that multiple Georgia courts, including the Superior Court of Cobb County, have found to be

enforceable and to prevent Robles (a former Randstad Account Manager) from violating her

restrictive covenant obligations to Randstad.

       2.      On September 8, 2020, Robles abruptly announced that she was resigning her

employment as an Account Manager, National Strategic Organizations. When her supervisor asked

her where she was going to work, she refused to identify her new employer.

       3.      Randstad has recently discovered that Robles accepted a position with Beacon Hill

Staffing Group, LLC (“Beacon Hill”), a direct competitor to Randstad that is seeking to open a
         Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 3 of 136




National Strategic Organization office in Phoenix, Arizona. In a clear-cut violation of her

Agreement, Robles is working for Beacon Hill in the same territory and performing the same duties

she performed for Randstad prior to her resignation and, on information and belief, is doing so for

some of the same clients.

        4.       Indeed, Randstad’s concerns were heightened when, just days after Robles abruptly

resigned, a client Robles managed, Client A,1 unexpectedly suspended its work with Randstad on

a project managed by Robles.

        5.       Robles’ conduct represents a blatant disregard of her restrictive covenant

obligations to Randstad and presents a serious threat of irreparable harm. Accordingly, Randstad

seeks injunctive relief to prevent the immediate irreparable harm that arises from this unfair

competition.

                              PARTIES, JURISDICTION, AND VENUE

        6.       Plaintiff Randstad is a Delaware limited liability company with a corporate office

and principal place of business located at One Overton Park, 3625 Cumberland Blvd SE, Atlanta

(Cobb County), GA 30339. Randstad is registered to conduct business in Georgia.

        7.       Defendant Robles is an individual who resides at 1319 West 12th Street, Tempe,

Arizona 85281. Until her abrupt resignation on September 8, 2020, Robles served as an Account

Manager, National Strategic Organizations. Robles is subject to the jurisdiction of this Court under

the authority of O.C.G.A.§§ 9-10-91 and pursuant to the exclusive jurisdiction and venue provision

in her Employee Non-Competition and Confidentiality Agreement with Randstad (“Agreement”).

A true and accurate copy of the Agreement is attached hereto as Exhibit A.



1
 Randstad is not publicly identifying Client A to avoid disclosing confidential information, including customer
names and contact information. Randstad is willing, however, to identify Client A by submitting this information
under seal or after entry of a protective order.


                                                         2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 4 of 136




       8.      This Court has jurisdiction over the subject matter of this Complaint because

Randstad exclusively seeks injunctive relief. See O.C.G.A. § 15-6-8. Randstad is not seeking any

form of money damages in this Complaint.

       9.      Venue is proper in this Court pursuant to the exclusive venue provision in the

Agreement because Robles is a party to an Agreement where she agreed to waive any objections

to venue in Cobb County, Georgia.

                                              FACTS

A.     Randstad’s Business and Confidential Information.

       10.     Randstad is a leader in the staffing solutions industry. Randstad and its affiliates

provide individual employees (“Talent”) to a diverse portfolio of businesses and organizations

(“Customers”) nationwide on a temporary or permanent basis to meet the Customers’ needs.

Randstad Technologies specializes in placing temporary employees in information technology

(“IT”) positions in a variety of industries. The National Sales Organization (“NSO”) group at

Randstad focuses on large institutional clients with significant staffing needs.

       11.     The staffing industry is a highly competitive, specialized business that is

relationship-driven between Customers, Talent, and the sales force. Through decades of hard

work, dedication, innovation and investment, Randstad has become a leader in the staffing

industry.

       12.     Randstad invests heavily in developing and maintaining Customer relationships

and in attracting and retaining top employees and Talent for both its internal operations and for

assignments with its Customers.

       13.     Randstad’s success in the highly competitive staffing industry is directly dependent

on its staffing teams’ Customer and institutional knowledge and Randstad’s ability to provide top




                                                 3
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 5 of 136




quality Talent to its Customers, and top quality job placements to its Talent.

       14.     To meet its Customers’ expectations and needs, Randstad has developed and

maintained, at great expense, valuable and long-standing working relationships and substantial

goodwill with its Customers.

       15.     Randstad has reasonably come to expect that its long-standing Customer

relationships will continue into the future.

       16.     Randstad’s employees, including Robles, receive substantial training, information,

business contacts, and other advantages that provide Randstad with a competitive advantage in

the marketplace.

       17.     Until her resignation on September 8, 2020, Robles served as Account Manager,

National Strategic Organizations for Randstad, and had high-level responsibility for developing,

implementing, and managing Randstad’s business and sales strategies in large institutional clients,

including Client A, as well as a select number of smaller organizations.

       18.     In her role at Randstad, Robles gained unique knowledge of and had access to

Randstad’s trade secrets and other confidential and proprietary information, including, without

limitation, information relating to Randstad’s business strategies, finances, methodologies,

processes, operations, pricing, Customers, Talent and employees (“Confidential Information”).

       19.     The Confidential Information to which Robles had access during her employment

with Randstad is critical to Randstad’s competitive position in the staffing industry.

       20.     Randstad developed such Confidential Information at significant expense and effort

over a number of years, such information is not generally available to the public or Randstad’s

competitors, and Randstad derives economic value from this information.




                                                 4
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 6 of 136




       21.     Randstad also takes reasonable efforts to maintain the confidentiality of such

information, including having its employees with access to such information sign confidentiality

agreements and using password protected computers and password protected log-ins to Randstad’s

databases.

       22.     If Randstad’s Confidential Information were to fall into the hands of a competitor,

such as Beacon Hill, Randstad’s competitive position would be severely harmed, and the

competitor would be able to trade on many years’ worth of valuable accumulated knowledge.

Likewise, if a former employee, such as Robles, retained Plaintiff’s Confidential Information

after her employment ended and/or used the Confidential Information while working for a

competitor, Randstad’s competitive position would be seriously harmed and both Robles and the

competitor would have an unfair competitive advantage.

B.    Robles’s Employment with Plaintiff, Access to Randstad’s Confidential Information,
and Development of Goodwill

       23.     Robles joined Randstad as an Account Manager in January 2018, selling

Randstad’s services to clients in the Phoenix valley area. She initially focused on mid-market

accounts before transitioning to the NSO team, where she had responsibility for growing existing

accounts, developing and maintaining relationships with existing IT leaders, and executing on

Randstad’s strategies and business priorities. In this role, she developed and maintained

relationships with specific customers, including Client A.

C.     The Agreement

       24.     On January 9, 2018, Robles executed the Agreement.

       25.     Among other provisions, the Agreement provides in Section 3(a):

               You acknowledge that Confidential Information and Trade Secrets are
               valuable, special and unique assets of Randstad’s business. In the course of
               your employment with Randstad, Randstad will disclose to you and grant
               you access to Confidential Information and Trade Secrets, and you desire


                                                5
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 7 of 136




      to be, and will be, entrusted with such Confidential Information and Trade
      Secrets during employment by Randstad. In consideration of Randstad’s
      entrusting to you certain of its Confidential Information and Trade Secrets,
      you shall not directly or indirectly reproduce, use, distribute, disclose,
      publish, or misappropriate any Confidential Information or Trade Secrets
      on behalf of you or any person or entity other than Randstad for any purpose
      whatsoever (i) at any time during your employment with Randstad, and (ii)
      after your separation from employment with Randstad (for any reason) for
      so long as the information in question meets the definition of Confidential
      Information set forth in Section 2(b), up to a maximum of two (2) years
      from the date of such separation of employment; provided that as to any
      Confidential Information that constitutes a Trade Secret under applicable
      law, these restrictions shall apply for so long as the information remains a
      Trade Secret. You acknowledge that any such prohibited use or disclosure
      of Confidential Information or Trade Secrets is likely to cause irreparable
      harm and financial loss to Randstad.

26.   The Agreement also provides in pertinent part in Section 4(d):

      During your employment with Randstad and the twelve (12) month period
      immediately following the date of your separation of employment with
      Randstad, regardless of the reason for such separation, you shall not, within
      the Restricted Territory, directly or indirectly, on your own behalf or on
      behalf of any person or entity other than Randstad, hold any position as an
      employee, agent, contractor, or otherwise, for or with any person or entity
      which engages in activities competitive with the Business of the Company
      if such position involves:

            (i) providing products or services competitive with the Business of
      the Company;

              (ii) supervising employees or other personnel who provide products
      or services competitive with the Business of the Company;

             (iii) developing or implementing strategies or methodologies related
      to products or services competitive with the Business of the Company; or

             (iv) engaging in responsibilities in which you would utilize or
      disclose Confidential Information.

27.   The Agreement also includes non-solicitation restrictions in Section 4(a):

      During your employment with Randstad and the eighteen (18) month period
      immediately following the date of your separation of employment with
      Randstad, regardless of the reason for such separation, you shall not,
      directly or indirectly, on your own behalf or on behalf of any person or
      entity other than Randstad:


                                       6
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 8 of 136




              (i) contact, solicit, service, sell to, or attempt to contact, solicit,
      service, or sell to any customer of Randstad with whom you had Material
      Contact at any time during the twelve (12) months prior to the date of your
      separation of employment with Randstad for the purpose of providing
      services competitive with the Business of the Company;

              (ii) contact, solicit, service, place, or attempt to contact, solicit,
      service, or place any Placement Candidate or Talent with whom you had
      Material Contact at any time during the twelve (12) months prior to the date
      of your separation of employment with Randstad for the purpose of
      providing services competitive with the Business of the Company;

             (iii) contact, recruit, or solicit, or attempt to contact, recruit, or solicit
      any associate (internal) employee of Randstad with whom you worked at
      any time during the twelve (12) months prior to the date of your separation
      of employment with Randstad for the purpose of encouraging, enticing or
      causing such associate (internal) employee to terminate employment with
      Randstad, or to accept employment with any person or entity that competes
      with the Business of the Company; or

             (iv) hire any associate (internal) employee of Randstad with whom
      you worked at any time during the twelve (12) months prior to the date of
      your separation of employment with Randstad for any person or entity that
      competes with the Business of the Company.

28.   The Agreement further provides in Section 6:

      You acknowledge that all originals, copies and summaries of manuals,
      memoranda, notes, notebooks, records, reports, plans, computer-based data
      in any form, tabulations or compilations, and other documents or items of
      any kind concerning any matters affecting or relating to the present or
      potential business of Randstad, whether or not they contain Confidential
      Information or Trade Secrets, and all Randstad-owned equipment which
      may be provided for your use while employed by Randstad, are and shall
      continue to be the property of Randstad. You shall return to Randstad all
      such documents and equipment in your possession or control immediately
      upon the date of your separation of employment with Randstad or sooner if
      requested by Randstad.

29.   Moreover, the Agreement provides in Section 8:

      You acknowledge that Randstad will suffer irreparable injury and damage
      and cannot be reasonably or adequately compensated in monetary damages
      alone for the loss by Randstad of its benefits or rights under this Agreement
      as the result of a breach, default or violation by you of any of your
      obligations under this Agreement. Accordingly, Randstad shall be entitled,
      in addition to all other remedies which may be available to it (including


                                           7
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 9 of 136




                monetary damages), to injunctive and other available equitable relief to
                prevent or otherwise restrain or terminate any actual or threatened breach,
                default or violation by you of any provision of this Agreement or to enforce
                any such provision. Randstad will not be required to post any bond as a
                condition of receiving such injunctive relief, and you hereby specifically
                waive the right to request or require the posting of a bond as a condition of
                Randstad receiving injunctive relief.

        30.     The Agreement is governed by the laws of the State of Georgia. (See Agreement

at ¶ 12.)

        31.     Robles and Randstad also agreed that:

                Any claims arising out of or related to the covenants in Sections 3, 4, 5, and
                6 of this Agreement, all claims arising under applicable law governing trade
                secrets, and all claims for emergency injunctive relief, must be litigated
                exclusively in the Superior or State Courts of Cobb County, Georgia,
                provided, however, that any such claim or cause of action may be brought
                in, or removed to, the United States District Court for the Northern District
                of Georgia, Atlanta Division, to the extent that such court would have
                jurisdiction over the subject matter of such action. You and Randstad waive
                any objection based on personal jurisdiction and forum non conveniens and
                waive any objection to venue of any action instituted hereunder to the extent
                that an action is brought in the courts identified above. Each party agrees
                that a final judgment in any such action shall be conclusive and may be
                enforced in any other jurisdiction in any manner provided by law.

        (See id.)

D.      Robles’s Abrupt Resignation from Randstad and Breach of the Agreement

        32.     On September 8, 2020, Robles suddenly and unexpectedly announced that she was

resigning her employment with Randstad for family reasons, effective immediately.

        33.     Robles’ supervisor, in an effort to retain Robles and assist her with any family-

related issues she may be having, asked her whether she would be interested in taking leave or

discussing potential alternative work arrangements to keep her employed with Randstad. Robles

repeatedly declined to elaborate, and instead only reiterated that she needed to resign effective that

day.




                                                  8
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 10 of 136




        34.    Her supervisor then asked Robles if she was going to work at Beacon Hill, who is

opening a new office in Phoenix. Robles dodged the question and refused to answer one way or

the other.

        35.    Additionally, after Robles resigned, she avoided scheduling an exit interview with

Randstad and delayed returning her electronic devices to Randstad for a roughly two-week period

following her resignation.

        36.    Just two days after Robles provided this abrupt notice, and further confirming

Pinchera’s belief that she was going to Beacon Hill, Randstad learned that Beacon Hill was looking

for someone to open an office for Beacon Hill in Phoenix, Arizona. Specifically, Beacon Hill

planned to open a division to handle NSO work in Phoenix, and Beacon Hill had already assembled

a few employees in Phoenix for this office. Robles is one of the employees who has or will

imminently begin working for Beacon Hill’s fledgling Phoenix office.

        37.    Randstad also has reason to believe that Robles has already solicited one of her

clients, Client A, to move its business from Randstad to Beacon Hill. On Friday, September 4,

2020, the last business day before Robles resigned, Robles cancelled a call with her contact at

Client A and rescheduled it for Tuesday (after her resignation), saying that she would “bug [her

Client A contact] on Tuesday,” and ending the e-mail with a very telling smiley-face emoji.

        38.    On information and belief, Robles rescheduled this meeting until after she had

resigned and joined Beacon Hill to illegally move work with Client A from Randstad to Beacon

Hill.

        39.    On further information and belief, Robles’ tactic succeeded. Just one day after

Robles resigned, Client A informed Randstad that it would pause any further placements for the




                                                9
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 11 of 136




group previously overseen by Robles for the time being. This was a surprising and abrupt change

for a project that Randstad had managed for more than 12 months for Client A.

        40.     Robles has accepted a role with Beacon Hill that will necessarily cause Robles to

violate her obligations to Randstad. Indeed, Robles’s employment with Beacon Hill is a blatant

violation of the non-compete covenant in Section 4(d) of the Agreement, which expressly prohibits

Robles from, among other activities, (i) “providing products or services competitive with the

Business of the Company,” (ii) “supervising employees or other personnel who provide products

or services competitive with the Business of the Company,” (iii) developing or implementing

strategies or methodologies related to products or services competitive with the Business of the

Company,” and; or (iv) “engaging in responsibilities in which Employee would utilize or disclose

Confidential Information.”

        41.     Robles has also violated her non-solicitation restrictions by soliciting Client A, a

client with whom she had material contact while employed by Randstad, for the purpose of

providing NSO services to Client A.

        42.     Because of Robles’s ongoing violations of her Agreement, Randstad is threatened

with losing business and the loss of value of its goodwill, customer relationships, and Confidential

Information, which cannot be adequately addressed at law. Money alone cannot make Randstad

whole and Randstad continues to be irreparably harmed. Indeed, Randstad is not seeking money

damages in this action. Rather, Randstad is seeking exclusively equitable relief.

                                           COUNT I
                                       Breach of Contract

        43.     Randstad repeats and re-alleges Paragraphs 1–42 above, and incorporates them as

if fully set forth herein.

        44.     Robles entered into a valid and enforceable Agreement.



                                                 10
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 12 of 136




       45.     The covenants contained in the Agreement remain in full force during and after

Robles’s departure from Randstad, and Robles remains bound by those covenants.

       46.     Randstad satisfied all of its obligations under the terms and conditions of the

Agreement.

       47.     By the acts described above, Robles has breached the Agreement by, among other

things, competing against Randstad within the Restricted Territory during the twelve-month period

following her departure from Randstad.

       48.     As a result of Robles’ breaches of the Agreement, Randstad has suffered or will

suffer substantial irreparable harm, and is threatened with further irreparable harm for which there

is no adequate remedy at law to compensate.

       49.     By reason of the foregoing, Randstad requires injunctive relief. Unless injunctive

relief is granted, Randstad will be irreparably harmed.

                                      PRAYER FOR RELIEF

       WHEREFORE, Randstad prays that this Court enter an Order granting a preliminary and

permanent injunction ordering that:

               (1)     Robles, along with her agents, employers, and those persons in active
                       concert or participation with her, be enjoined through a preliminary and
                       permanent injunction from violating, or facilitating the violation of, Robles’
                       contractual obligations to Randstad; and
               (2)     Robles identify to Randstad any and all Randstad Customers, Talent, and
                       employees whom Robles, or anyone acting on her behalf, has solicited or
                       otherwise contacted since her resignation from Plaintiff, including the name
                       of the Customer, Talent, or employee, the date of the contact, and the
                       method of communication; and
               (3)     Robles preserve and refrain from any spoliation of evidence and return all
                       Randstad Property and Confidential Information in her possession, custody
                       or control.
                                    JURY TRIAL DEMAND




                                                11
      Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 13 of 136




      PLAINTIFF DEMANDS A TRIAL BY JURY OF ALL ISSUES AND COUNTS SO

TRIABLE.


                                   //Robert C. Stevens
                                   Robert C. Stevens (Georgia Bar No. 680142)
                                   bstevens@seyfarth.com
                                   Alex Meier (Georgia Bar No. 282350)
                                   ameier@seyfarth.com
                                   SEYFARTH SHAW LLP
                                   1075 Peachtree Street, N.E.
                                   Suite 2500
                                   Atlanta, Georgia 30309-3962
                                   Telephone: (404) 885-1500
                                   Facsimile: (404) 892-7056


                                   Counsel for Plaintiff Randstad Technologies, LLC
Dated: September 30, 2020




                                     12
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 14 of 136




           EXHIBIT A
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 15 of 136
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 16 of 136
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 17 of 136
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 18 of 136
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 19 of 136
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 20 of 136
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 21 of 136
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 22 of 136
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 23 of
                                                           ID#136
                                                               2020-0105988-CV

                   SUPERIOR COURT OF COBB COUNTY                                         CLERK OF SUPERIOR COURT
                                                                                          COBB COUNTY, GEORGIA
                          STATE OF GEORGIA
                                                                                              20106125
                                                                                          C. LaTain Kell Sr. - 49
                                                                                          SEP 30, 2020 04:43 PM




                    CIVIL ACTION NUMBER 20106125

                                                   $214.00 COST PAID
 Randstad Technologies, LLC

 PLAINTIFF
                                             VS.
 Robles, Lisette

 DEFENDANT


                                          SUMMONS
 TO: ROBLES, LISETTE

 You are hereby summoned and required to file with the Clerk of said court and serve upon the
 Plaintiff's attorney, whose name and address is:

                           Alex Meier
                           SEYFARTH SHAW LLP
                           1075 Peachtree Street, NE
                           Atlanta, Georgia 30309

 an answer to the complaint which is herewith served upon you, within 30 days after service of
 this summons upon you, exclusive of the day of service. If this action pertains to a Protective
 Order, the Answer is to be filed and served on or before the scheduled hearing date attached.
 If you fail to do so, judgment by default will be taken against you for the relief demanded in
 the complaint.

 This 30th day of September, 2020.
                                                   Clerk of Superior Court




                                                                                       Page 1 of 1
             Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 24 of ID#
                                                                            1362020-0105989-CV

                                                                           CLERK OF SUPERIOR COURT
                                                                            COBB COUNTY, GEORGIA
                                              Cobb                             20106125
                                                                            C. LaTain Kell Sr. - 49
                                                                            SEP 30, 2020 04:43 PM

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Randstad Technologies, LLC                   Robles, Lisette




                 Meier, Alex                             282350
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 25 of ID#
                                                                      1362020-0105990-CV

                                                                                      CLERK OF SUPERIOR COURT
                                                                                       COBB COUNTY, GEORGIA
                                                                                          20106125
DISCLOSURE STATEMENT                                                                   C. LaTain Kell Sr. - 49
CLERK OF SUPERIOR COURT                                                                SEP 30, 2020 04:43 PM


CASE NUMBER _______________________
             20106125



Randstad Technologies, LLC
                 Plaintiff

                        Vs.

Robles, Lisette
                    Defendant

                                        TYPE OF ACTION

          o   Divorce without Agreement Attached         o URESA
          o   Divorce with Agreement Attached            o Name Change
          o   Domestic Relations                         o Other
          o   Damages Arising out of Contract            o Recusal
          o   Damages Arising out of Tort                o Adoption
          o   Condemnation
          o   Equity
          o   Zoning – County Ordinance Violations (i.e., Injunctive Relief-Zoning)
          o   Zoning Appeals (denovo)
          o   Appeal, Including denovo appeal – excluding Zoning

                                  PREVIOUS RELATED CASES
Does this case involve substantially the same parties, or substantially the same subject matter, or
substantially the same factual issues, as any other case filed in this court (Whether pending
simultaneously or not)?

     o NO
     o YES – If yes, please fill out the following:
          1. Case # ____________________

              2. Parties ____________________

              3. Assigned Judge _____________

              4. Is this case still pending?          o Yes     o No

              5. Brief description of similarities:




                                                      /S/ ___________________________________
                                                           Meier, Alex
                                                                       Attorney or Party Filing Suit
         Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 26 of ID#
                                                                        1362020-0106081-CV

                                                                                    CLERK OF SUPERIOR COURT
                                                                                     COBB COUNTY, GEORGIA
                                                                                        20106125
                          SUPERIOR COURT OF COBB COUNTY                             C. LaTain Kell Sr. - 49
                                 STATE OF GEORGIA                                   OCT 01, 2020 11:30 AM


                                                    )
RANDSTAD TECHNOLOGIES, LLC,                         )
                                                    )
                       Plaintiff,                   )   CIVIL ACTION
                                                    )
v.                                                  )   FILE NO. 2106125
                                                    )
LISETTE ROBLES,                                     )   JURY TRIAL DEMANDED
                                                    )
                       Defendant.                   )
                                                    )
                                                    )

    PLAINTIFF'S EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER
         Plaintiff Randstad Technologies, LLC (“Randstad”), by and through its attorneys, and

pursuant to O.C.G.A. § 9-11-65 and Rule 6.7 of the Uniform Superior Court Rules, moves this

Court to enter an order granting the following relief: (1) enjoining Defendant Lisette Robles

(“Robles” or “Defendant”) and her agents, employer, and others in active concert with her, from

competing against Randstad in violation of the terms of her Employee Non-Competition and

Confidentiality Agreement (“Agreement”); (2) enjoining Robles from violating any other term of

her Agreement; (3) directing Defendant to provide defined information in connection with

Randstad’s request for immediate injunctive relief; and (4) requiring Defendant to preserve

evidence in advance of a hearing on Randstad’s impending request for a preliminary injunction. 1

         Randstad’s Motion is based on the accompanying Memorandum of Law and all attached

exhibits. Randstad requests that the Court grant its motion in its entirety. A proposed order is

attached for the Court’s convenience.




1
  Randstad will contemporaneously provide copies of its filings to Defendant by email, in addition
to service by overnight mail.


65942748v.2
         Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 27 of 136




                                     Respectfully submitted,

                                     /s/ Robert C. Stevens
                                     Robert C. Stevens (Georgia Bar No. 680142)
                                     bstevens@seyfarth.com
                                     Alex Meier (Georgia Bar No. 282350)
                                     ameier@seyfarth.com
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                                     Suite 2500
                                     Atlanta, Georgia 30309-3962
                                     Telephone: (404) 885-1500
                                     Facsimile: (404) 892-7056


                                     Counsel for Plaintiff Randstad Technologies, LLC

Dated: October 1, 2020




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65942748v.2
         Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 28 of 136




                           SUPERIOR COURT OF COBB COUNTY
                                  STATE OF GEORGIA

                                                      )
RANDSTAD TECHNOLOGIES, LLC,                           )
                                                      )
                       Plaintiff,                     )   CIVIL ACTION
                                                      )
v.                                                    )   FILE NO. 2106125
                                                      )
LISETTE ROBLES,                                       )   JURY TRIAL DEMANDED
                                                      )
                       Defendant.                     )
                                                      )
                                                      )

                                    CERTIFICATE OF SERVICE

         The undersigned certifies that, on October 1, 2020, he caused copies of the foregoing

Plaintiff’s Emergency Motion for Temporary Restraining Order to be served on Lisette Robles

by email and mail (overnight delivery specified) at the following addresses:

                               Lisette Robles
                               larobles@gmail.com
                               1319 W. 12th Street
                               Tempe, AZ 85281


                                                             /s/ Robert C. Stevens
                                                             Robert C. Stevens
                                                             Counsel for Randstad




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        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 29 of 136




                       SUPERIOR COURT OF COBB COUNTY
                              STATE OF GEORGIA

                                                    )
RANDSTAD TECHNOLOGIES, LLC,                         )
                                                    )
                      Plaintiff,                    )   CIVIL ACTION
                                                    )
v.                                                  )   FILE NO. 2106125
                                                    )
LISETTE ROBLES,                                     )   JURY TRIAL DEMANDED
                                                    )
                      Defendant.                    )
                                                    )
                                                    )

     PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF ITS EMERGENCY
              MOTION FOR TEMPORARY RESTRAINING ORDER

        Plaintiff Randstad Technologies, LLC (“Randstad”), by its attorneys and pursuant to

O.C.G.A. § 9-11-65, hereby moves this Court for a Temporary Restraining Order (“TRO”)

against Defendant Lisette Robles (“Robles”).

I.      INTRODUCTION

        This case presents a quintessential example of why Georgia companies like Randstad

need reasonable restrictive covenants to protect them from unfair competition, and why this

Court has the power to enjoin violations of such covenants. This emergency request for a

temporary restraining order arises from Robles’ wrongful conduct as part of her new

employment with Beacon Hill Staffing Group, LLC (“Beacon Hill”), a direct competitor of

Cobb County, Georgia-based Randstad. This activity clearly violates Robles’s Non-

Competition and Confidentiality Agreement (“Agreement”) with Randstad, an agreement

that both federal and state courts in Georgia, including this Court, have previously found to

be valid and enforceable. (See Randstad Technologies, LLC v. Luma, et al., No. 18106542
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 30 of 136




(Ga. Super. Ct., Cobb Cty.), attached as Exhibit 1; Randstad General Partner (US), LLC v.

Volt Workforce Solutions, LLC, No. 17108166 (Ga. Super. Ct., Cobb Cty.), attached as

Exhibit 2; Randstad Professionals US, LLC v. Joseph Tamberrino, et al., No. 1:18-cv-940-

ELR (N.D. Ga.), attached as Exhibit 3.)

       As set forth in the affidavits and other evidence submitted to the Court with this

Motion, until her sudden and unexpected resignation on September 8, 2020, Robles was

responsible for managing the day-to-day operations of projects at several of Randstad’s large

institutional clients and, through the course of her employment with Randstad, developed

valuable customer relationships entirely by virtue of that employment relationship.

       Not surprisingly, Robles is subject to narrowly tailored twelve-month non-compete

and non-solicit covenant in her Agreement with Randstad. Yet, despite her Agreement,

Robles has commenced employment with Beacon Hill, a direct competitor of Randstad, in a

location and role that blatantly breaches the non-compete covenant in her Agreement and,

upon information and belief, has already solicited her primary customer, Client A,1 to

transfer its business from the very project she oversaw from Randstad to Beacon Hill. That is

precisely what the Agreement, which this Court has enforced on several occasions, is

intended to protect against.

       In light of Robles’s employment with Beacon Hill, Randstad filed this action to

prevent the immediate irreparable harm that it faces from Robles’ unfair competition. Robles

has refused to comply with her restrictive covenants and has instead opted to misrepresent

the reason for her departure, to accept a competitive position within the restricted area, and to

1
 To preserve the confidentiality of its client’s identity, Randstad has not identified Client A
but is willing to do so by in camera submissions or after entry of a protective order.



                                               -2-
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 31 of 136




solicit at least one customer to move its business, specifically delaying work with Client A

until she left Randstad and went to Beacon Hill. Accordingly, unless this Court immediately

enjoins Robles, she will continue to unfairly compete against Randstad in violation of her

Agreement. Randstad, therefore, seeks this TRO to preserve the status quo pending a hearing

on Randstad’s anticipated application for a preliminary injunction against Robles.

II.     FACTUAL BACKGROUND

        A.      Randstad’s Business and Legitimate Business Interests

        Randstad, based in Cobb County, Georgia, is a leader in the highly competitive and

specialized staffing business. (Affidavit of M. Pinchera (“Pinchera Aff.”) ¶ 3, attached as

Exhibit 4.) Randstad and its affiliates provide individual employees (“Talent”) to a diverse

portfolio of customers on a temporary or permanent basis to meet the customers’ needs. (Id.)

Randstad Technologies specializes in information technology (“IT”) positions in a variety of

industries. (Id. ¶ 3.)

        The staffing industry is a highly competitive, specialized business that is relationship-

driven between customers, Talent, and the Randstad sales force. (Id. ¶ 4.) Through decades

of hard work, dedication, innovation, and investment, Randstad has become a leader in the

staffing industry. (Id.) Randstad’s success in the highly competitive staffing industry is

directly dependent on its staffing teams’ customer and institutional knowledge and

Randstad’s ability to provide top quality Talent to its customers, and top quality job

placements to its Talent. (Id. ¶ 5.) Accordingly, Randstad provides its employees with

extensive access to its trade secrets and other confidential and proprietary information,

including, without limitation, information relating to Randstad’s business and sales




                                               -3-
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 32 of 136




strategies, finances, methodologies, processes, operations, pricing, customers, Talent and

employees (“Confidential Information”). (Id. ¶ 6.)

       Because such Confidential Information is critical to Randstad’s competitive position

in the staffing industry, Randstad takes reasonable efforts to maintain its confidentiality,

including requiring employees with access to such information to sign confidentiality

agreements, using password protected computers and password protected log-ins to

Randstad’s databases, and maintaining various written policies to protect its trade secrets and

other confidential and/or proprietary information. (Id. ¶ 8.)

       B.      Robles’ Employment with Plaintiff

       Robles joined Randstad as an Account Manager in 2018 and initially sold Randstad’s

services to mid-market clients in the Phoenix, Arizona area. (Id. ¶ 10.) Later in 2018, Robles

started working in Randstad’s larger National Sales Organization (“NSO”) group, a business

segment focused on targeting and servicing large institutional clients. (Id.) While she spent

most of her time managing NSO accounts, Robles continued to service several smaller clients

that she managed before moving into NSO accounts. (Id.) Robles’ primary account was

Client A, a large institutional client in the medical devices and services field.(Id.) Robles

performed work for Client A and other Randstad clients in the Phoenix, Arizona area,

including at her residence. (Id.)2




2
 Moreover, Robles’ residence is located at 1319 W. 12th Street, Tempe, Arizona 85281.
This address is within 25 miles of Randstad’s Phoenix office, located at 3838 N. Central
Ave., Suite 1400, Phoenix, Arizona 85012.



                                               -4-
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 33 of 136




       C.      Robles’s Detailed Knowledge of Randstad’s Trade Secrets and Other
               Confidential Information.

       Not surprisingly, Robles gained highly detailed knowledge of and had access to

Randstad’s Confidential Information. (Id. ¶ 11.) Indeed, her position with Randstad provided

her with regular access to confidential information, including (a) Randstad’s marketing

strategies, (b) client contact information, (c) growth strategies and methodologies, (d) plans

for business and service concepts under development by Randstad, (e) pricing offered to

large customers and prospects, (f) sales pitches and proposals, (g) sales strategies, and (h)

Talent contact information. (Id.)

       D.      Robles’ Obligations to Randstad under the Non-Competition and
               Confidentiality Agreement

       In light of Randstad’s protectable interests (including its customer relationships,

goodwill, and the extensive confidential information that Robles obtained through her

employment with Randstad), Robles entered into the Agreement with Randstad on January 9,

2018. (Pinchera Aff. ¶ 12, Ex. A.)

       Among other provisions, the Agreement contains a narrowly tailored, twelve-month

non-compete covenant stating as follows:

       During your employment with Randstad and the twelve (12) month period
       immediately following the date of your separation of employment with
       Randstad, regardless of the reason for such separation, you shall not, within
       the Restricted Territory, directly or indirectly, on your own behalf or on behalf
       of any person or entity other than Randstad, hold any position as an employee,
       agent, contractor, or otherwise, for or with any person or entity which engages
       in activities competitive with the Business of the Company if such position
       involves:

            (i) providing products or services competitive with the Business of the
       Company;




                                              -5-
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 34 of 136




              (ii) supervising employees or other personnel who provide products or
       services competitive with the Business of the Company;

              (iii) developing or implementing strategies or methodologies related to
       products or services competitive with the Business of the Company; or

              (iv) engaging in responsibilities in which you would utilize or disclose
       Confidential Information.

(Pinchera Aff. Ex. A, at § 4(d).)3

       In addition, the Agreement authorizes injunctive relief and other available equitable

relief from this Court to prevent any actual or threatened breach, default or violation of the

Agreement by Robles, as follows:

       You acknowledge that Randstad will suffer irreparable injury and damage and
       cannot be reasonably or adequately compensated in monetary damages alone
       for the loss by Randstad of its benefits or rights under this Agreement as the
       result of a breach, default or violation by you of any of your obligations under
       this Agreement. Accordingly, Randstad shall be entitled, in addition to all
       other remedies which may be available to it (including monetary damages), to

3
  The term “Restricted Territory” is defined in the Agreement as “the following geographic
territory to the maximum extent determined to be reasonable by a court of competent
jurisdiction:
       (i) a radius of twenty-five (25) miles of any office(s) to which [Robles] was
           assigned or which [Robles] managed, during the twelve (12) months prior
           to the date of [Robles’] separation of employment with Randstad;
       (ii) a radius of twenty-five (25) mils of any office(s) in which [Robles]
            performed services on behalf of Randstad at any time during the twelve
            (12) months prior to the date of [Robles’] separation of employment with
            Randstad;
       (iii) a radius of twenty-five (25) mils of any office(s) in which Randstad
            employed personnel whom [Robles] directly or indirectly supervised or
            managed during the twelve (12) months prior to the date of [Robles’]
            separation of employment with Randstad; and
       (iv) any region or territory to which [Robles] was actually assigned or which
           [Robles] managed during the twelve (12) months prior to the date of
           [Robles’] separation of employment with Randstad.”
(Pinchera Aff. Ex A, at § 2(h).)



                                             -6-
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 35 of 136




       injunctive and other available equitable relief to prevent or otherwise restrain
       or terminate any actual or threatened breach, default or violation by you of
       any provision of this Agreement or to enforce any such provision. Randstad
       will not be required to post any bond as a condition of receiving such
       injunctive relief, and you hereby specifically waive the right to request or
       require the posting of a bond as a condition of Randstad receiving injunctive
       relief

(Pinchera Aff. Ex. A, at § 8.)

       E.      Robles’ Abrupt Resignation from Randstad and Employment with
               Beacon Hill in Breach of the Agreement

       On September 8, 2020, Robles suddenly and unexpectedly announced that she was

resigning her employment with Randstad for family reasons, effective immediately. (Id. ¶ 13;

Affidavit of Jeff Panning (“Panning Aff.” ¶ 5, attached as Exhibit 5.) Marcus Pinchera,

Robles’ supervisor, in an effort to retain Robles and assist her with any family-related issues

she may be having, asked her whether she would be interested in taking leave or discussing

potential alternative work arrangements to keep her employed with Randstad. (Pinchera Aff.

¶ 14.) Robles repeatedly declined to elaborate, instead only reiterated that she needed to

resign effective that day and that she was trying to be professional. (Id. ¶ 15.) Pinchera then

told her that, based on her sudden resignation without any notice, he believed that she was

going to work at Beacon Hill. (Id. ¶ 16.) She refused to respond to when Pinchera asked her

if she was going to Beacon Hill. (Id.)

       Later the same day that Robles resigned, Client A abruptly suspended its business

with Randstad. (See id. ¶ 17; Panning Aff. ¶¶ 6-8.) The following day, Client A informed

Randstad that, based on Robles’ departure, they would put “everything on hold.” (See id. ¶

17; Panning Aff. ¶¶ 6-8) When Randstad attempted to follow up with Client A to explain

why Randstad could still satisfactorily perform this work, Client A did not provide an




                                              -7-
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 36 of 136




explanation for the sudden change in planned work and requisitions for talent. (Pinchera Aff.

¶ 18; Panning Aff. ¶ 8.)

       Randstad now has reason to believe that Robles told Client A that she was leaving

Randstad to join Beacon Hill. On Friday, September 4, 2020, the last business day before

Robles resigned, Robles intentionally rescheduled a business discussion about potential

placements of talent at Client A to Tuesday September 8—the same day she notified

Randstad that she was resigning, effective immediately:




                                                          CLIENT A




(Pinchera Aff. Ex. B.)

       Tellingly, on Tuesday, after Robles’ resignation, Client A immediately informed

Randstad that it could not see how Randstad could retain this business        its work with

Randstad on the business managed by Robles. (Panning Aff. ¶ 6.) Client A made it official

the following day. When Randstad attempted to retain Client A’s work in this project, the

client contact at Client A said that he was “sad Lisette is no longer with the company, but

everyone needs to grow.” (Panning Aff. Ex. A.) The client contact then said that Randstad’s

work on this project would be put “on hold” and that they could “move forward” with work




                                             -8-
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 37 of 136




outside this project that Robles was managing. (Id.) Client A has since failed to respond to

follow-up messages from Randstad about this project. (See id. ¶ 8; Pinchera Aff. ¶ 18.)

       The reason for this is that, on information and belief, Robles is now servicing Client

A at Beacon Hill, a Randstad competitor that previously has not had a presence in the

Phoenix, Arizona area. (Pinchera Aff. ¶¶ 20-21.) In fact, Beacon Hill does not currently have

an official office that services NSO accounts in Phoenix. (See id.) However, Beacon Hill is

actively attempting to lay the foundation for that office by hiring not only Robles but other

Randstad employees in the Phoenix area. (See id.)

       This pattern of conduct is consistent with Beacon Hill’s behavior in other markets.

Beacon Hill attempts to hire people regardless of whether they have a non-compete

agreement or whether employment with Beacon Hill would violate that agreement. (See J.

Panning ¶¶ 10-11.) Beacon Hill instructs the new employee to suddenly resign and tell their

clients that they are leaving for a “growth opportunity” and then leave without any notice or

explanation as to where they are going. (Id. ¶ 11.) Beacon Hill advises the new employee to

follow up with major customers once they have settled into the new role. (Id. ¶12.) These

tactics allow Beacon Hill to illegally acquire customer relationships, goodwill, and premier

talent in the marketplace.

       Robles followed this strategy to the letter. To obscure her relationship with Beacon

Hill, Robles falsely told Randstad that she was resigning for family reasons, refused to tell

Randstad where she was going to work, and did not update her LinkedIn profile to identify

her actual employer. (See Pinchera Aff. ¶¶ 13-16, 21.) Her omissions and misrepresentations

serve only to confirm that she is aware that her conduct is improper and a violation of her




                                             -9-
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 38 of 136




Agreement. Indeed, her main customer, the customer whom she said she “would bug on

Tuesday” with a smiley face emoji, ceased working with Randstad on the project she was

managing within hours of her abrupt resignation. (See Pinchera Aff. Ex. B; Panning Aff. ¶¶

5-8.) Despite her efforts to hide her actions, Randstad confirmed on September 30, 2020 that

Robles is working for Beacon Hill. (Panning Aff. ¶ 9.) As a result of Robles’ misconduct,

Randstad has been forced to initiate this suit to protect its goodwill and customer

relationships.

III.   ARGUMENT AND CITATION OF LEGAL AUTHORITY

       The purpose of a TRO pursuant to O.C.G.A. § 9-11-65 is to preserve the status quo

while a case is pending. Grossi Consulting, LLC v. Sterling Currency Grp., 290 Ga. 386,

388, 722 S.E.2d 44, 46 (2012). A party may obtain entry of a TRO if it can show the court:

(1) it has a likelihood of ultimate success on the merits of its underlying claim; (2) there is a

substantial threat it will suffer immediate and irreparable injury that has no adequate remedy

at law if the injunction is denied; (3) the threatened injury to the moving party outweighs the

threatened harm that the injunction may do to the party being enjoined; and (4) granting the

interlocutory injunction will not disserve the public interest. Mitchell v. DeKalb Cty. Bank,

139 Ga. App. 562, 228 S.E.2d 746, 747 (1976); SRB Inv. Servs., LLP v. Branch Banking Tr.

Co., 289 Ga. 1, 5 , 709 S.E. 2d 267, 271 (Ga. 2011).

       Randstad seeks a TRO for Robles’s breach of her contractual obligations to Randstad.

As explained below, Randstad is entitled to the injunctive relief it seeks because: (a)

Randstad has more than a sufficient likelihood of success on the merits of its claims; (b)

Randstad faces the prospect of immediate irreparable injury for which Randstad has no




                                              -10-
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 39 of 136




adequate remedy at law if Robles is not immediately enjoined; (c) the threatened injury to

Randstad far outweighs any threatened harm to Robles if the TRO is issued; and (d) granting

the TRO will not disserve the public interest. Accordingly, Randstad is entitled to a TRO

immediately enjoining Robles as set out in the Proposed Temporary Restraining Order

enclosed with this Motion.

       A.      Randstad Has a More Than Reasonable Likelihood of Success on the
               Merits.

               1.     Randstad is Substantially Likely to Prevail on its Claim for
                      Breach of Contract.

       Randstad is substantially likely to prevail on its breach of contract claim against

Robles because the non-compete covenant is demonstrably valid and enforceable under

Georgia’s restrictive covenants statute, O.C.G.A. §§ 13-8-50 to 59, which governs the

Agreement, and Robles is in blatant breach of this covenant and her non-solicit covenant.4 In

enacting the restrictive covenants statute, the General Assembly expressly found that

“reasonable restrictive covenants contained in employment and commercial contracts serve

the legitimate purpose of protecting legitimate business interests and creating an environment

that is favorable to attracting commercial enterprises to Georgia and keeping existing

businesses within the state.” O.C.G.A. § 13-8-50. Here, the covenants in the Agreement are

precisely the types of covenants that the General Assembly authorized to protect Georgia

businesses like Randstad from unfair competition.




4
  Georgia’s restrictive covenants statute applies to all restrictive covenants executed on or
after the effective date of the statute, May 11, 2011. In re Pervis, 512 B.R. 348, 373 (Bankr.
N.D. Ga. 2014)




                                             -11-
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 40 of 136




                          a.   The Agreement is Valid and Enforceable.

       The Agreement prohibits Robles from, among other things, engaging, for one year

after her separation from Randstad, in activities competitive with Randstad, including (i)

“providing products or services competitive with the Business of the Company [as defined in

the Agreement],” (ii) “supervising employees or other personnel who provide products or

services competitive with the Business of the Company,” (iii) developing or implementing

strategies or methodologies related to products or services competitive with the Business of

the Company,” and; or (iv) “engaging in responsibilities in which [Robles] would utilize or

disclose Confidential Information.”5 (Pinchera Aff. Ex. A, § 4(d)(i)-(iv).) This covenant is

demonstrably enforceable under Georgia law, which upholds restraints on competition are

enforceable as long as the restrictions protect legitimate business interests and are reasonably

limited in time, geographic area, and scope of the prohibited activities. See O.C.G.A. § 13-8-

53(a); Cellairis Franchise, Inc. v. Duarte, No. 2:15-cv-00101-WCO, 2015 WL 6517487, at

*5 (N.D. Ga. Oct. 21, 2015); CSM Bakery Solutions, LLC v. Debus, Case No. 1:16-cv-03732-

TCB, 2017 WL 2903354, at *2 (N.D. Ga. Jan. 25, 2017). The non-compete covenant at issue

meets all of these requirements, and Randstad’s restrictive covenants have repeatedly been

enforced by this Court and other courts in this State. (See Orders Granting TROs or

Injunctions, Exs. 1-3.)
5
  The Agreement also has a non-disclosure covenant prohibiting Robles from reproducing,
using, disclosing or misappropriating Randstad’s Confidential Information for two years after
her employment with Randstad, and from disclosing or misappropriating Randstad’s trade
secrets for as long as the information remains a trade secret under applicable law. (Pinchera
Aff. Ex. 1, § 3(a).) Georgia law allows for the protection of confidential information or trade
secrets so long as the information remains confidential or continues to be trade secret. See
O.C.G.A. § 13-8-53(e). Accordingly, like the non-compete covenant, the non-disclosure
covenant is valid and enforceable.




                                              -12-
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 41 of 136




       First, Randstad has numerous legitimate business interests for which the restrictions

in the non-compete are reasonably necessary. As noted above, Randstad has multiple

legitimate business interests in Robles’ employment as an Account Manager at Randstad,

including customer goodwill, substantial relationships with specific customers, and trade

secrets and Confidential Information regarding the accounts over which she had

responsibility. (See Pinchera Aff. ¶¶ 10-16.) These interests qualify as legitimate business

interest under Georgia law and is precisely why Randstad requires employees like Robles to

execute non-compete covenants. See O.C.G.A. § 13-8-51(9) (listing customer goodwill,

relationships with specific customers, and trade secrets and “valuable confidential

information that otherwise does not qualify as a trade secret” as legitimate business interests

under Georgia law).

       Second, as to time, a restraint of two years or less against a former employee is

presumed to be reasonable under the statute. O.C.G.A. § 13-8-57(b); Debus, 2017 WL

2903354, at *1 (one year non-compete is reasonable). Accordingly, the one-year restriction

on competition and solicitation in the Robles Agreement is well within the statutory

presumption for reasonableness.

       Third, as to geography, the statute does not require any detailed description but

provides that fair notice of the maximum reasonable scope of the restraint is sufficient. Id. at

§ 13-8-53(c)(1). As provided in the statute:

       Whenever a description of activities, products, or services, or geographic areas, is
       required by this Code section, any description that provides fair notice of the
       maximum reasonable scope of the restraint shall satisfy such requirement, even if
       the description is generalized or could possibly be stated more narrowly to
       exclude extraneous matters. In case of a post-employment covenant entered into
       prior to termination, any good faith estimate of the activities, products, or



                                               -13-
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 42 of 136




       services, or geographic areas, that may be applicable at the time of termination
       shall also satisfy such requirement, even if such estimate is capable of including
       or ultimately proves to include extraneous activities, products, or services, or
       geographic areas. The post-employment covenant shall be construed ultimately to
       cover only so much of such estimate as relates to the activities actually conducted,
       the products or services actually offered, or the geographic areas actually involved
       within a reasonable period of time prior to termination.

Id. Thus, a geographic territory “which includes the areas in which the employer does

business at any time during the parties’ relationship, even if not known at the time of entry

into the restrictive covenant, is reasonable provided that . . . the total distance encompassed

by the provisions of the covenant also is reasonable.” Id. at § 13-8-56(2); Duarte, 2015 WL

6517487, at *6; Novelis Corp. v. Smith, No. 1:16-cv-1557-ODE, 2017 WL 1745635, at *6

(N.D. Ga. 2017).

       Here, the limited definition of the “Restricted Area,” among other things, 6 reflects

“the geographic areas actually involved” and is reasonable it is limited to a 25-mile radius of

locations where Robles performed services for Randstad or serviced Randstad customers. See

O.C.G.A. §§ 13-8-53(c)(1), 13-8-56(2). Indeed, non-compete covenants without any

geographic restriction have been found to be reasonable under Georgia law where the entity

seeking to enforce the covenant was a global company. See Novelis, 2017 WL 1745635, at *7

(finding that non-compete provision lacking any geographic restriction was reasonable

6
  As noted above, the term “Restricted Territory” is defined in the Agreement to mean the
“geographic territory to the maximum extent determined to be reasonable by a court of
competent jurisdiction” of “a radius of twenty-five (25) miles from any office(s)” where
“[Robles] was assigned or which Employee managed” or “[Robles] performed services on
behalf of Randstad” or “in which Randstad employed personnel whom Employee directly or
indirectly supervised or managed” during the 12 months “prior to the date of [Robles’]
separation of employment with Randstad.” (Pinchera Aff. Ex. A, ¶ 2(f).) The term
“Restricted Territory” is also defined to include “any region or territory to which [Robles]
was actually assigned or which [Robles] managed during the twelve (12) months prior to the
date of [Robles’]separation of employment with Randstad.” (Id.)



                                             -14-
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 43 of 136




because “Novelis’ business is global, involving customers and facilities across the globe, and

sales within and between four global regions.”). Here, of course, the Restricted Territory is

defined even more narrowly and specifically tied to Robles’s work on behalf of Randstad.

       Fourth, as to the scope of prohibited activities, the statute provides that phrases such

as “of the type conducted, authorized, offered, or provided . . . or similar language” shall be

sufficient. O.C.G.A. § 13-8-53(c)(1). According to the statue, the scope of a restriction is

measured by the business of the employer or other person or entity in whose favor the

restrictive covenant is given. Id. at § 13-8-56(3).

       Here, the Agreement prohibits Robles from providing to a competitor like Beacon

Hill the same or substantially similar services that she provided to Randstad, including “(i)

“providing products or services competitive with the Business of the Company [as defined in

the Agreement],” (ii) “supervising employees or other personnel who provide products or

services competitive with the Business of the Company,” (iii) developing or implementing

strategies or methodologies related to products or services competitive with the Business of

the Company,” or (iv) “engaging in responsibilities in which [Robles] would utilize or

disclose Confidential Information.” (Pinchera Aff. Ex. A, § 4(d)(i)-(iv).) These restricted

activities track “the activities actually conducted” by Robles at the time of her resignation

and are set forth with considerably more specificity than required by the statute. These are

reasonable   limitations   under    the   statute.    O.C.G.A.   §§ 13-8-53(c)(1),   13-8-56(3).

Accordingly, the non-competition provision Agreement in this case is valid and enforceable

under Georgia law. Indeed, multiple courts, including this Court, have previously found this

Agreement enforceable and enjoined departing employees who accepted competitive




                                               -15-
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 44 of 136




employment. (See Exs. 1-3 (granting requests for injunctive relief under substantively similar

agreements.).)

                       b.      Robles is Violating and/or Imminently Threatening to
                               Violate the Agreement.

       There can be no serious dispute that Robles’s employment with Beacon Hill is a

blatant breach of the twelve-month non-competition provision in the Agreement. On

September 8, 2020, Robles abruptly resigned from her employment with Randstad and joined

Beacon Hill, which is a direct competitor of Randstad in the IT staffing industry, all while

trying to obfuscate where she was going and why she was leaving. (Pinchera Aff. ¶¶ 13-18,

21.) She is now employed with Beacon Hill, and will no doubt be performing the same or

substantially similar duties she performed for Randstad with respect to the “Business of the

Company,” which the Agreement defines as including “temporary, temporary to hire, direct

hire and outsourced placement and staffing services, . . . or other services that are the same as

or substantially similar to the services [Robles] provided on behalf of Randstad within two

(2) years prior to the date of [Robles]’ separation from the Company.” (Id. Ex. A, § 2(a).) It

is hard to imagine a more clear-cut violation of the non-compete covenant in the Agreement.

Accordingly, Randstad is substantially likely to prevail on its breach of contract claim against

Robles.7


7
  While Robles’ clear violation of the non-compete covenant is alone sufficient to warrant a
TRO in this case, Robles’ employment with Beacon Hill in a role in which she will
inevitably make use of her intimate knowledge of Randstad’s trade secrets and other
Confidential Information is also a breach or threatened breach of the non-disclosure
provision in the Agreement, as well as a threatened misappropriation of trade secrets in
violation of the Georgia Trade Secrets Act (“GTSA”). Given the nature of Robles’ position at
Randstad as compared to her new position at Beacon Hill, this Court need not entertain the
fiction that Robles can somehow compete directly against Randstad without making use of



                                              -16-
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 45 of 136




       The same underlying facts also establish that Robles violated her non-solicit. The

same day that Robles provided notice to Randstad, her primary customer relationship, Client

A, suddenly and without elaboration paused its work on projects overseen by Robles and has

not responded to Randstad’s follow-up messages seeking clarification about the reason for

the sudden freeze in work on this project. (See Pinchera Aff. ¶¶ 17-18; Panning Aff. Ex. A.)

This is no coincidence; Client A did not put an immediate hold in work without a plan to

requisition this work from another source, and Randstad contends that Client A changed its

relationship with Randstad in response to Robles’ solicitations. Indeed, Robles specifically

delayed work with this client on behalf of Randstad until after she resigned and went to work

at Beacon Hill. (See Pinchera Aff. ¶¶ 17-18; Panning Aff. ¶¶ 5-8.) Accordingly, Randstad has

separately established that Robles violated her non-solicitation covenant.




the substantial volume of trade secrets and other Confidential Information with which she is
intimately familiar (and particularly confidential information regarding Robles’ relationship
with Client A). Common sense demonstrates that no person, no matter how well-intentioned,
could avoid using such inside information while performing the same duties for a direct
competitor. As such, Robles’ imminent threat to use and/or disclose the information at issue
(including Randstad’s confidential business strategies) constitutes both a breach of the
nondisclosure covenant and a threatened misappropriation of trade secrets that this Court can
and should immediately enjoin. See, e.g., Essex Group v. Southwire Co., 269 Ga. 553, 555,
501 S.E. 2d 501 (1998) (holding that plaintiff’s confidential logistics system was trade secret
and that threatened misappropriation of trade secret warranted issuance of permanent
injunction against defendant); Sci. Games Int’l, Inc. v. Cash, No. 2:16-cv-00142-WCO, 2017
WL 542034, at *5 (N.D. Ga. Jan. 25, 2017) (defendant’s knowledge of company’s trade
secrets coupled with conduct of downloading company’s files weighed in support of
enjoining future or threatened misappropriation); Bimbo Bakeries USA, Inc. v. Botticella, 613
F.3d 102 (3d Cir. 2010) (enjoining the defendant from working for the plaintiff’s competitor
after the evidence demonstrated that the defendant had access to a significant number of trade
secrets); PepsiCo, Inc. v. Redmond, 54 F.3d 1262 (7th Cir. 1995) (enjoining the defendant
based on the inevitable disclosure doctrine because the defendant “could not be trusted.”).




                                             -17-
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 46 of 136




       B.      Randstad Faces the Prospect of Immediate Irreparable Injury for which
               it has no Adequate Remedy at Law if Robles is not Immediately Enjoined

       Randstad faces the prospect of serious and irreparable harm if Robles are permitted to

continue their unlawful acts. Indeed, Georgia appellate courts have long authorized

injunctive relief as an appropriate remedy to enforce restrictive covenants. See, e.g., Poe &

Brown of Ga., Inc. v. Gill, 268 Ga. 749, 750, 492 S.E. 2d 864 (1997) (abuse of discretion to

deny injunctive relief on grounds that Randstad had adequate remedy at law where evidence

showed defendant violating restrictive covenant). This situation is no different and similar to

prior cases where this Court or other Georgia courts entered injunctive relief. (See Randstad

Technologies, LLC v. Luma, et al., No. 18106542 (Ga. Super. Ct., Cobb Cty.), Ex. 1;

Randstad General Partner (US), LLC v. Volt Workforce Solutions, LLC, No. 17108166 (Ga.

Super. Ct., Cobb Cty.), Ex. 2; Randstad Professionals US, LLC v. Joseph Tamberrino, et al.,

No. 1:18-cv-940-ELR (N.D. Ga.), Ex. 3.) Although discovery will be needed to develop a

fuller picture of Robles’ improper activities to date, Robles’s breach of the Agreement cannot

seriously be disputed.

       Moreover, Randstad is seeking only equitable relief in its Complaint without any

request for monetary damages or other remedy at law. Of course, even if Randstad were

seeking damages, at this early juncture, there is no way to calculate the damages that will

result to Randstad’s business if Robles is permitted to continue to be employed in a role that

places her in direct competition with Randstad in the same territory performing the same

duties while armed with Randstad’s confidential, non-public sales plans, strategies, and

information and with Randstad’s customer relationships and accumulated goodwill generated

during her employment with Randstad. As the Eleventh Circuit Court of Appeals has




                                             -18-
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 47 of 136




recognized, an injury is “irreparable” if it “cannot be undone through monetary damages.”

Ferrero v. Assoc. Materials, Inc., 923 F.2d 1441, 1449 (11th Cir. 1991). There simply is no

way to compensate Randstad with monetary damages for the damage that would befall

Randstad if Robles is permitted to continue her unfair competition against Randstad.

Accordingly, this Court should not wait for Robles to achieve her objective but should

immediate enjoin her now.

       C.      The Threatened Injury to Randstad Far Outweighs Any Threatened
               Harm to Robles if the TRO is Issued

       The balance of hardships also decidedly tips in Randstad’s favor. If Robles is not

enjoined from her unlawful conduct, Randstad faces the very real prospect of irreparable

harm to its goodwill and impairment of its customer relationships that it entrusted to Robles.

Thus, the only way to prevent irreparable harm and maintain the status quo is through the

immediate entry of a temporary restraining order.

       In contrast, granting injunctive relief to Randstad will merely prevent Robles from

engaging in actions that she is already legally and contractually prohibited from performing.

Beacon Hill will not be precluded from continuing to compete against Randstad generally.

And Robles will not be prohibited from being gainfully employed in a capacity as long as it

is in a role that does not violate her Agreement. Given this reality, the hardships that

Randstad will face if injunctive relief is not granted vastly outweigh whatever hardships

Robles will face simply by complying with their existing legal obligations.

       D.      The TRO will not Disserve the Public Interest

       Finally, the public interest will not be disserved by granting Randstad’s request for

injunctive relief. As one federal court in this state has observed




                                               -19-
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 48 of 136




       Georgia favors enforcing reasonable restrictive covenants. “[R]easonable
       restrictive covenants ... serve the legitimate purpose of protecting legitimate
       business interests and creating an environment that is favorable to attracting
       commercial enterprises to Georgia and keeping existing businesses within the
       state.” Ga. Code Ann. § 13-8-50. Legitimate business interests include inter alia
       trade secrets, confidential information, substantial relationships with customers
       and vendors, good will, and specialized training. Ga. Code Ann. § 13-8-51(9). . . .
       Finally, [the employer] is headquartered in Georgia, has significant investments in
       Georgia, and employs a substantial number of people in Georgia. Public policy
       thus favors granting the injunction requested here.

Novelis, 2017 WL 1745635. See also Variable Annuity Life Ins. Co. v. Joiner, 454 F. Supp.

2d 1297, 1305 (S.D. Ga. 2006) (granting preliminary injunction enforcing restrictive

covenants in employment agreement).

       This Court should adopt the same reasoning in this action. No public interest will be

disserved if the Court grants Randstad’s motion for injunctive relief. On the contrary,

issuance of a TRO will vindicate this State’s public policy in favor of ensuring fair

competition and enforcing valid contracts. It will also protect the legitimate business interests

of Randstad, a company headquartered in Georgia that has significant investments in Georgia

and employs a substantial number of people in Georgia.

IV.    CONCLUSION

       For the reasons stated above, Randstad has shown a likelihood of success on the

merits of its claims and that it faces the prospect of immediate irreparable injury for which it

has no adequate remedy at law if Robles are not immediately enjoined.

       WHEREFORE, Randstad respectfully prays that this Court enter a Temporary

Restraining Order ordering Robles, including her agents, representatives, employers, and/or

anyone else active in concert or participation with them who receives notice of the Order by

personal service or otherwise, as follows:




                                              -20-
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 49 of 136




       •      Enjoining Robles from working for Beacon Hill or from otherwise, directly or
              indirectly, on Robles’ own behalf or on behalf of any person or entity other
              than Randstad, holding any position as an employee, agent, contractor, or
              otherwise, for or with any person or entity which engages in activities
              competitive with the business of Plaintiff in violation of the terms of the
              Agreement;

       •      Enjoining Robles from soliciting any customer with whom she had material
              contact while employed by Randstad, in violation of the terms of the
              Agreement;

       •      Ordering Robles to comply with all provisions of the Agreement relating to
              non-solicitation of Plaintiff’s customers and employees and non-disclosure of
              Plaintiff’s trade secrets, confidential and/or proprietary information;

       •      Ordering Robles to identify (within 7 business days of entry of this Order) any
              and all Randstad customers, placement candidates, and employees whom
              Robles, or anyone acting on her behalf, has solicited or otherwise contacted
              since September 8, 2020, including: (a) the date(s) and time(s) the contact
              occurred; (b) the name of the person(s) contacted; (c) the method(s) of
              communication; and (d) a description of what was discussed; and

       •      Ordering Robles to immediately preserve all data and information in their
              possession, custody, or control, of any type and however maintained,
              pertaining to Randstad’s business or the allegations set forth in Randstad’s
              Complaint in this action, including, but not limited to, data and information in
              an electronic format.

       No prior application for the relief requested herein has been made to this or any other

Court. For the Court’s convenience, a Proposed Order is enclosed with this Motion.




                                            -21-
      Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 50 of 136




                                   Respectfully submitted,


                                   //Robert C. Stevens
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                                   bstevens@seyfarth.com
                                   Alex Meier (Georgia Bar No. 282350)
                                   ameier@seyfarth.com
                                   SEYFARTH SHAW LLP
                                   1075 Peachtree Street, N.E.
                                   Suite 2500
                                   Atlanta, Georgia 30309-3962
                                   Telephone: (404) 885-1500
                                   Facsimile: (404) 892-7056


                                   Counsel for Plaintiff Randstad Technologies,
                                   LLC
Dated: October 1, 2020




                                   -22-
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 51 of 136




                        SUPERIOR COURT OF COBB COUNTY
                               STATE OF GEORGIA

                                                     )
RANDSTAD TECHNOLOGIES, LLC,                          )
                                                     )
                      Plaintiff,                     )   CIVIL ACTION
                                                     )
v.                                                   )   FILE NO. 2106125
                                                     )
LISETTE ROBLES,                                      )   JURY TRIAL DEMANDED
                                                     )
                      Defendant.                     )
                                                     )
                                                     )

                              CERTIFICATE OF SERVICE

       The undersigned certifies that, on October 1, 2020, he caused copies of the foregoing

Plaintiff’s Motion for Expedited Discovery to be served on Robles by email and mail

(overnight delivery specified) at the following addresses:

                             Lisette Robles
                             Larobles1@gmail.com
                             1319 W. 12th Street
                             Tempe, AZ 85281


                                                             /s/ Robert C. Stevens
                                                             Robert C. Stevens
                                                             Counsel for Randstad




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Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 52 of 136




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Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 53 of 136
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                         Exhibit 2
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 57 of 136
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                        Exhibit 4
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       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 78 of 136




                          SUPERIOR COURT OF COBB COUNTY
                                 STATE OF GEORGIA

                                                      )
RANDSTAD TECHNOLOGIES, LLC,                           )
                                                      )
                       Plaintiff,                     )   CIVIL ACTION
                                                      )
v.                                                    )   FILE NO. _______________
                                                      )
LISETTE ROBLES,                                       )   JURY TRIAL DEMANDED
                                                      )
                       Defendant.                     )
                                                      )
                                                      )

AFFIDAVIT OF MARCUS PINCHERA IN SUPPORT OF RANDSTAD’S EMERGENCY
            MOTION FOR TEMPORARY RESTRAINING ORDER

       I, Marcus Pinchera, declare as follows:

       1.      I am over 18 years of age, of sound mind, and competent to give the testimony in

this Affidavit. I make this Affidavit upon my own personal knowledge and upon information

provided to me by the records of Randstad Technologies, LLC (“Randstad”) or information

available through other employees of Randstad, except where it is expressly indicated otherwise.

As to those matters stated on information and belief, I believe those matters to be true.

       2.      I have nearly 10 years of experience in the staffing industry and serve as the Area

Managing Director for Randstad. I am familiar with Defendant Lisette Robles because she

reported to me during her employment with Randstad.

                       Randstad’s Business and Confidential Information

       3.      Randstad is a leader in the staffing solutions industry and is based in Cobb

County, Georgia, where it has its corporate headquarters and principal place of business.

Randstad and its affiliates provide individual employees (“Talent”) to a diverse portfolio of

businesses and organizations on a temporary or permanent basis to meet the customers’ needs.
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 79 of 136




Randstad Technologies specializes in placing temporary employees in information technology

(“IT”) positions in a variety of industries.

       4.      The staffing industry is a highly competitive, specialized business that is

relationship-driven between customers, Talent, and the sales force. Through decades of hard

work, dedication, innovation and investment, Randstad has become a leader in the staffing

industry.

       5.      Randstad’s success in the highly competitive staffing industry is directly

dependent on its staffing teams’ customer and institutional knowledge and Randstad’s ability to

provide top quality Talent to its customers, and top quality job placements to its Talent. To that

end, Randstad invests heavily in developing and maintaining customer relationships and in

attracting and retaining top employees and Talent for both its internal operations and for

assignments with its customers.

       6.      Randstad’s employees receive substantial training, information, business contacts

and other advantages that provide Randstad with a competitive advantage in the marketplace. In

addition, Randstad provides its employees with extensive access to its trade secrets and other

confidential and proprietary information, including, without limitation, information relating to

Randstad’s business strategies, finances, methodologies, processes, operations, pricing,

Customers, Talent and employees (“Confidential Information”) when doing so is necessary for

that employee’s job duties. Such Confidential Information is critical to Randstad’s competitive

position in the staffing industry.

       7.      Randstad developed such Confidential Information at significant expense and

effort over a number of years, such information is not generally available to the public or

Randstad’s competitors, and Randstad derives economic value from this information.




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       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 80 of 136




       8.      Randstad also takes reasonable efforts to maintain the confidentiality of such

information, including having its employees with access to such information sign confidentiality

agreements and using password protected computers and password protected log-ins to

Randstad’s databases.

       9.      If Randstad’s Confidential Information were to fall into the hands of a competitor,

Randstad’s competitive position would be severely harmed, and the competitor would be able to

trade on many years’ worth of valuable accumulated knowledge. Likewise, if a former employee

retained Randstad’s Confidential Information after his employment ended and/or used the

Confidential Information while working for a competitor, Randstad’s competitive position would

be seriously harmed and both the former employee and the competitor would have an unfair

competitive advantage.

                        Robles’ Employment with Randstad and Access to
                        Randstad’s Confidential Information and Goodwill

       10.     Robles joined Randstad as an Account Manager in 2018 and initially sold

Randstad’s services to mid-market clients in the Phoenix, Arizona area. Later in 2018, Robles

switched to Randstad’s National Sales Organization (“NSO”) group, a business segment

focused on targeting and servicing large institutional clients. While she spent most of her time

managing NSO accounts, she continued to service several smaller clients that she managed

before moving into NSO accounts. Robles’ primary account was CLIENT A , a large institutional

client in the medical devices and services field.

       11.     Through her employment with Randstad, Robles had access to and learned

Randstad’s Confidential Information relating to accounts she serviced and managed, including

McKesson. This Confidential Information included, but was not limited to, (a) Randstad’s

marketing strategies, (b) client contact information, (c) growth strategies and methodologies, (d)



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       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 81 of 136




plans for business and service concepts under development by Randstad, (e) pricing offered to

large customers and prospects, (f) sales pitches and proposals, (g) sales strategies, and (h) Talent

contact information. Her employment with Randstad also provided her with access to specific

customer relationships, including CLIENT A .

       12.     On January 9, 2018, Ms. Robles executed an Employee Non-Competition and

Confidentiality Agreement (“Agreement”) with Randstad. A true and accurate copy of the

Agreement is attached hereto as Exhibit A.

                           Robles’ Abrupt Resignation from Randstad

       13.     On Tuesday, September 8, 2020, Ms. Robles told me that she was leaving

Randstad. Her departure came as a total shock. Ms. Robles came to me, started crying, and said

that she needed to immediately leave Randstad because of family issues.

       14.     I asked her whether there was anything we could do to help, such as providing her

with leave or allowing her to take a leave of absence. Ms. Robles was a high-performer, and I

didn’t want to think that some external pressures could prevent her from working here.

       15.     When I asked her what we could do, she refused to elaborate and just said she

couldn’t do this anymore, or something to that effect, and that she was trying to be as

professional as she could. I told her that this was very out of character for her and that it wasn’t

very professional to insist on leaving without any notice.

       16.     Based on her conduct, I inferred that she was leaving to join Beacon Hill, a direct

competitor to Randstad that is known for hiring employees in role that violate the employees’

restrictive covenant agreements and instructing those employees not to tell their prior employers

where they are going to work. I told Ms. Robles that, based on what she was doing, it sounded

like she was going to Beacon Hill. She did not respond to my statement.




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        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 82 of 136




        17.       Later that day, my colleague, Jeff Panning, informed   CLIENT A   , one of the main

clients managed by Ms. Robles, that she would no longer be working for Randstad. Soon after,

the client contact at    CLIENT A   told us that he was sad to see Ms. Robles go but “everyone needs

to grow.”     CLIENT A     then immediately put “on hold” all of our active work for   CLIENT A   for

this particular project.

        18.       My understanding is that   CLIENT A   has not responded when Randstad has asked

what Randstad can do to retain this work.

        19.       It is my belief that Ms. Robles talked to   CLIENT A   about her imminent move to

Beacon Hill before she resigned from Randstad. On Friday, September 4, the client contact at

CLIENT A      asked for information regarding some potential requisitions, and Ms. Robles delayed,

saying, “Disregard. I’ll bug you on Tuesday. : )” A copy of that email is attached as Exhibit B to

this Affidavit.

        20.       My initial suspicion that Beacon Hill hired Ms. Robles received more support just

a few days later, when I learned that Beacon Hill planned to open a Phoenix office and that they

were specifically looking for individuals with experience working with or managing large client

accounts.

        21.       I have since learned that Ms. Robles is employed by Beacon Hill. She has not,

however, updated her LinkedIn profile to identify her new employer.



                                     [Signature on following page]




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Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 83 of 136
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 84 of 136




                        Exhibit A
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 85 of 136
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 86 of 136
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 87 of 136
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 88 of 136
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 89 of 136
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 90 of 136
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 91 of 136
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 92 of 136
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 93 of 136




                        Exhibit B
                       (Redacted)
                  Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 94 of 136




Randstad [randstadusa.com] provides a human touch in a technology driven world. We connect candidates and
clients within the F&A, Engineering, Technologies, Life Sciences, Healthcare, Office and Administration as well as
Manufacturing and Logistics areas for all types of organizations. Randstad provides a range of workforce solutions
including recruitment process outsourcing, HR solutions, onsite management and more.

Share your experience with Randstad [randstad.us]


---------- Forwarded message ---------
From: Lisette Robles <lisette.robles@randstadusa.com>
Date: Fri, Sep 4, 2020 at 7:53 AM
Subject: Re: Detials
To: Biondino, Matt (2) <Matt.          @CLIENT A     >


Disregard. I'll bug you on Tuesday. :)




Lisette Robles

Account Manager; National Strategic Organization




Randstad Technologies

3838 N Central Ave

Phoenix, AZ 85012




P: 602.635.1338

M: 480.548.0087

F: 480.776.3301

Lisette.Robles@randstadusa.com [randstadusa.com]
www.randstadusa.com [randstadusa.com]




                                                           2
                  Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 95 of 136
Randstad [randstadusa.com] provides a human touch in a technology driven world. We connect candidates and
clients within the F&A, Engineering, Technologies, Life Sciences, Healthcare, Office and Administration as well as
Manufacturing and Logistics areas for all types of organizations. Randstad provides a range of workforce solutions
including recruitment process outsourcing, HR solutions, onsite management and more.

Share your experience with Randstad [randstad.us]



On Fri, Sep 4, 2020 at 7:48 AM Lisette Robles <lisette.robles@randstadusa.com> wrote:
 Melissa’s role

 Please send details

 and

 Analyst roles




 Lisette Robles

 Account Manager; National Strategic Organization




 Randstad Technologies

 3838 N Central Ave

 Phoenix, AZ 85012




 P: 602.635.1338

 M: 480.548.0087

 F: 480.776.3301

 Lisette.Robles@randstadusa.com [randstadusa.com]
 www.randstadusa.com [randstadusa.com]




 Randstad [randstadusa.com] provides a human touch in a technology driven world. We connect candidates and
 clients within the F&A, Engineering, Technologies, Life Sciences, Healthcare, Office and Administration as well as
 Manufacturing and Logistics areas for all types of organizations. Randstad provides a range of workforce solutions
 including recruitment process outsourcing, HR solutions, onsite management and more.

 Share your experience with Randstad [randstad.us]
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Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 96 of 136




                        Exhibit 5
                       (Redacted)
       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 97 of 136




                          SUPERIOR COURT OF COBB COUNTY
                                 STATE OF GEORGIA

                                                      )
RANDSTAD TECHNOLOGIES, LLC,                           )
                                                      )
                       Plaintiff,                     )   CIVIL ACTION
                                                      )
v.                                                    )   FILE NO. _______________
                                                      )
LISETTE ROBLES,                                       )   JURY TRIAL DEMANDED
                                                      )
                       Defendant.                     )
                                                      )
                                                      )

     AFFIDAVIT OF JEFF PANNING IN SUPPORT OF RANDSTAD’S EMERGENCY
               MOTION FOR TEMPORARY RESTRAINING ORDER

       I, Jeff Panning, declare as follows:

       1.      I am over 18 years of age, of sound mind, and competent to give the testimony in

this Affidavit. I make this Affidavit upon my own personal knowledge and upon information

provided to me by the records of Randstad Technologies, LLC (“Randstad”) or information

available through other employees of Randstad, except where it is expressly indicated otherwise.

As to those matters stated on information and belief, I believe those matters to be true.

       2.      I have over 12 years of experience in the staffing industry and currently serve as

the Director, Strategic Accounts at Randstad. I make this Affidavit in support of Randstad’s

Emergency Motion for Temporary Restraining Order.

       3.      I am personally familiar with Lisette Robles. When she worked for Randstad, I

had her as a dotted-line report. Marcus Pinchera was her direct supervisor, but I had primary

responsibility for managing Randstad’s relationship with CLIENT A     in the Phoenix area.

       4.      With my assistance and direction, Ms. Robles handled the day-to-day

performance and work requisition for CLIENT A .
         Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 98 of 136




         5.    On Tuesday, September 8, 2020, Ms. Robles suddenly informed Randstad that

she was leaving Randstad. When I communicated this to the client contact, he acted over-the-top

surprised but then immediately followed up by saying that, without Ms. Robles, he did not see

how Randstad would be able to keep this business.

         6.    I thought this was very odd. If Ms. Robles’ departure was such as a surprise to

him, it seemed out of sync for him to say with such certainty that Randstad would not be able to

handle this business without Ms. Robles. And, by this point, Randstad had been working on this

project for more than a year and a half, so it did not seem right for      CLIENT A    to suddenly

terminate this relationship.

         7.    I later sent a note to the client contact stating that Ms. Robles performed her work

at my direction that Randstad would still be able to provide high-quality service to    CLIENT A   ,

and that I would like to talk to him about retaining this work. In response, the client contact said

that he was “sad Lisette is no longer with the company, but everyone needs to grow” and that he

would be putting everything “on hold” for this portfolio of work. A copy of this email is attached

as Exhibit A to this affidavit.

         8.    CLIENT A        has not responded to follow-up messages from me asking what

Randstad could do to retain this business.

         9.    On September 30, 2020, I learned that Ms. Robles went to work at Beacon Hill.

This development did not surprise me, because, in my experience, the way Ms. Robles handled

her departure is consistent with Beacon Hill’s hiring practices and recommendations to its new

hires.

         10.   Beacon Hill grows in large part by poaching employees from competitors to start

new offices or grow its operations in existing markets. I know this because Beacon Hill recruited




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       Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 99 of 136




me from my prior employer, another staffing company in the Minneapolis, Minnesota market, to

help start the Minneapolis office.

       11.     When Beacon Hill hired new employees for this office, they received the same

offboarding. Beacon Hill would advise the new employee to call his or her best clients and tell

them that you took a “growth opportunity” but not immediately tell them where the employee

was going. Beacon Hill would also generally tell the new employee to leave without providing

any notice to the former employer. This strategy often made for a rocky transition to a new

contact at the former employer, hopefully laying the groundwork for Beacon Hill to gain this

business.

       12.     Beacon Hill then advises new hires that they should contact their main clients

“once the dust settles.”. Beacon Hill also tells employees to not worry about being sued, because

the company will “take care of it” if the new hire is sued.

                                     [Signature on following page]




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Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 100 of 136
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 101 of 136




                         Exhibit A
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 102 of 136




         CLIENT A




                                                            CLIENT A




                               CLIENT A




                        CLIENT A




      CLIENT A
             CLIENT A
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 103 of 136




                    Proposed Order
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 104 of 136




                           SUPERIOR COURT OF COBB COUNTY
                                  STATE OF GEORGIA

                                                     )
RANDSTAD TECHNOLOGIES, LLC,                          )
                                                     )
                       Plaintiff,                    )   CIVIL ACTION
                                                     )
v.                                                   )   FILE NO. 20106125
                                                     )
LISETTE ROBLES,                                      )   JURY TRIAL DEMANDED
                                                     )
                       Defendant.                    )
                                                     )
                                                     )


              [PROPOSED] TEMPORARY RESTRAINING ORDER AND RULE NISI

         On Thursday, October 1, 2020, Plaintiff Randstad Technologies, LLC (“Plaintiff” or

“Randstad”) filed a Motion for Temporary Restraining Order (the “Motion”). The Motion is

supported by Randstad’s Memorandum of Law, as well as the supporting affidavits of Marcus

Pinchera and Jeff Panning. The Court heard oral argument on Randstad’s Motion on

________________________, 2020 (the “Hearing”). Defendant was provided advance notice of

the Hearing and given the opportunity to attend.

         The Court believes immediate consideration is appropriate in light of the evidence

presented. After considering all evidence, it appears to the Court from the specific facts shown

that Plaintiff has met the standards applicable to the award of a temporary restraining order. See

Garden Hills Civic Ass’n v. MARTA, 539 S.E.2d 811, 812-13 (Ga. 2000).

         IT IS HEREBY ORDERED THAT, pursuant to O.C.G.A. § 9-11-65, from the date of

entry of this Order until the Court enters an order on Randstad’s forthcoming Motion for a

Preliminary Injunction, Defendant, including her agents, representatives, employers, and/or




65852803v.2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 105 of 136




anyone else active in concert or participation with her who receives notice of this Order by

personal service or otherwise, are hereby ordered as follows:

         1.    Defendant Robles is enjoined from working for Beacon Hill Staffing Group, LLC,

and any company that performs activities substantially similar to those she performed for

Randstad within a 25-mile radius of any location where she performed services for Randstad, or

from holding any position as an employee, agent, contractor, or otherwise, for or with any person

or entity which engages in activities competitive with the business of Plaintiff in violation of the

terms of the Non-Competition and Confidentiality Agreement (the “Agreement”) attached to this

Order as Exhibit A;

         2.    Defendant Robles is enjoined from contacting, soliciting, servicing, or selling, or

attempting to contact, solicit, service, or sell any Randstad customer with which she had material

contact during the 12-month period prior to her resignation from Randstad for the purpose of

providing the same services or substantially similar service to those she provided when

employed by Randstad;

         3.    Defendant Robles shall deliver (within 7 business days of entry of this Order) to

the offices of Plaintiff’s counsel, Seyfarth Shaw LLP, located at 1075 Peachtree Street, Suite

2500, Atlanta, Georgia 30309: (i) any computer devices or electronic storage media or devices in

her possession, custody, or control that currently or previously contained any of Plaintiff’s trade

secrets or other confidential or proprietary information, and (ii) any other property of Plaintiff, in

any format, in her possession, custody or control;

         4.    Robles shall identify (within 7 business days of entry of this Order) any and all

Randstad customers, placement candidates, and employees whom Robles, or anyone acting on

her behalf, has solicited or otherwise contacted on or after September 8, 2020, including: (a) the



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65852803v.2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 106 of 136




date(s) and time(s) the contact occurred; (b) the name of the person(s) contacted; (c) the

method(s) of communication; and (d) a description of what was discussed; and

         5.    Robles shall immediately preserve all data and information in their possession,

custody, or control, of any type and however maintained, pertaining to Plaintiff’s business or the

allegations set forth in Plaintiff’s Complaint in this action, including, but not limited to, data and

information in an electronic format.

         6.    Plaintiff’s Motion for Preliminary Injunction shall be heard by this Court on

_______________________________________, 2020 at _______ a.m./p.m. in Courtroom ____.

         7.    Plaintiff shall serve this Order on Defendant.

         IT IS SO ORDERED, this ____ day of ________________, 2020, at ________a.m./p.m.



                                               ______________________________________
                                               Judge, Superior Court of Cobb County




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65852803v.2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 107 ofID#
                                                                       1362020-0106092-CV

                                                                                    CLERK OF SUPERIOR COURT
                                                                                     COBB COUNTY, GEORGIA
                                                                                        20106125
                          SUPERIOR COURT OF COBB COUNTY                             C. LaTain Kell Sr. - 49
                                 STATE OF GEORGIA                                   OCT 01, 2020 11:39 AM


                                                    )
RANDSTAD TECHNOLOGIES, LLC,                         )
                                                    )
                       Plaintiff,                   )   CIVIL ACTION
                                                    )
v.                                                  )   FILE NO. 2106125
                                                    )
LISETTE ROBLES,                                     )   JURY TRIAL DEMANDED
                                                    )
                       Defendant.                   )
                                                    )
                                                    )

          PLAINTIFF'S EMERGENCY MOTION FOR EXPEDITED DISCOVERY
                      AND ORDER TO PRESERVE EVIDENCE
         Plaintiff Randstad Technologies, LLC (“Randstad”), by and through its attorneys, and

pursuant to O.C.G.A. §§9-11-33 and 9-11-34 and Rule 6.7 of the Uniform Superior Court Rules,

moves this Court to enter an order granting the following relief: (1) authorizing Randstad to

conduct limited, expedited discovery focused on identifying the irreparable harm caused by

Defendant Lisette Robles’ (“Robles” or “Defendant”) conduct; and (2) requiring Defendant to

preserve evidence in advance of a hearing on Randstad’s impending request for a preliminary

injunction.1

         Randstad’s Motion is based on the accompanying Memorandum of Law and Randstad’s

Motion for Temporary Restraining Order, Memorandum of Law in Support, and all attached

exhibits. Randstad requests that the Court grant its motion and enter an order finding that good

cause exists to authorize limited expedited discovery, requiring Defendant to respond to

Randstad’s written discovery requests and produce responsive documents within 14 days of



1
  Randstad will contemporaneously provide copies of its filings to Defendant by email, in addition
to service by overnight mail.


65864220v.1
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 108 of 136




service, directing that general discovery shall commence immediately, and ordering that the

submission of any motion to dismiss shall not operate as a stay of discovery. A proposed order is

attached for the Court’s convenience.

                                          Respectfully submitted,

                                          /s/ Robert C. Stevens
                                          Robert C. Stevens (Georgia Bar No. 680142)
                                          bstevens@seyfarth.com
                                          Alex Meier (Georgia Bar No. 282350)
                                          ameier@seyfarth.com
                                          SEYFARTH SHAW LLP
                                          1075 Peachtree Street, N.E.
                                          Suite 2500
                                          Atlanta, Georgia 30309-3962
                                          Telephone: (404) 885-1500
                                          Facsimile: (404) 892-7056

                                          Counsel for Plaintiff Randstad Technologies, LLC

Dated: October 1, 2020




                                               2
65864220v.1
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 109 of 136




                           SUPERIOR COURT OF COBB COUNTY
                                  STATE OF GEORGIA

                                                      )
RANDSTAD TECHNOLOGIES, LLC,                           )
                                                      )
                       Plaintiff,                     )   CIVIL ACTION
                                                      )
v.                                                    )   FILE NO. 2106125
                                                      )
LISETTE ROBLES,                                       )   JURY TRIAL DEMANDED
                                                      )
                       Defendant.                     )
                                                      )
                                                      )

                                    CERTIFICATE OF SERVICE

         The undersigned certifies that, on October 1, 2020, he caused copies of the foregoing

Plaintiff’s Emergency Motion for Expedited Discovery to be served on Lisette Robles by email

and mail (overnight delivery specified) at the following addresses:

                               Lisette Robles
                               larobles@gmail.com
                               1319 W. 12th Street
                               Tempe, AZ 85281




                                                             /s/ Robert C. Stevens
                                                             Robert C. Stevens
                                                             Counsel for Randstad




                                                 3
65864220v.1
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 110 of 136




                           SUPERIOR COURT OF COBB COUNTY
                                  STATE OF GEORGIA

                                                      )
RANDSTAD TECHNOLOGIES, LLC,                           )
                                                      )
                       Plaintiff,                     )   CIVIL ACTION
                                                      )
v.                                                    )   FILE NO. 2106125
                                                      )
LISETTE ROBLES,                                       )   JURY TRIAL DEMANDED
                                                      )
                       Defendant.                     )
                                                      )
                                                      )

     [PROPOSED] ORDER GRANTING PLAINTIFF’S EMERGENCY MOTION FOR
         EXPEDITED DISCOVERY AND ORDER TO PRESERVE EVIDENCE

         This cause came before the Court on Plaintiff Randstad Technologies, LLC’s Motion for

Expedited Discovery Order and Order to Preserve Evidence. For the reasons set forth herein, that

Motion is GRANTED.

         Accordingly, IT IS HEREBY ORDERED that Defendant Lisette Robles shall:

         1.     Effective immediately upon actual or constructive receipt of this Order, preserve

and not destroy any and all evidence and information relevant to the facts alleged in Randstad’s

Complaint;

         2.     No later than seven days from the date of this Order, identify all electronic devices

and accounts, including, but not limited to, any home and/or work computers, hard drives, flash

drives, iPods, iPads, cell phones, tablets, PDAs and other external storage devices, email accounts

and other electronic accounts, including cloud storage such as Google Drive, in her possession,

custody or control that currently contain or have contained Randstad’s property, confidential

information or trade secrets at any point on or after September 8, 2020;




65864422v.2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 111 of 136




         3.    No later than seven days from the date of this Order, produce phone records for all

calls and text messages made or received by Robles on or after July 1, 2020; 1

         4.    No later than seven days from the date of this Order, produce all text messages,

iMessages, and messages sent on any messaging platform, including but not limited to LinkedIN,

G-chat, Yahoo Chat, and Facebook Messenger, between Robles and any other individual,

including Beacon Hill Employees, regarding her departure from Randstad, staffing services, or her

current or future employment at Beacon Hill that were sent or received on or after July 1, 2020;

         5.    No later than 14 days from the date of this Order, produce all non-privileged e-

mails from her personal e-mail account(s) that were sent or received on after July 1, 2020 relating

to any of the following: Randstad, Randstad’s customers, her current or future employment at

Beacon Hill, and Randstad’s Confidential Information and Trade Secrets;

         6.    No later than 14 days from the date of this Order, provide responses to the proposed

expedited discovery requests attached to Randstad’s motion for expedited discovery; and

         7.    Provided that Randstad provides at least seven calendar days’ notice, appear for a

deposition.

         8.    Discovery shall commence immediately, and the filing of a motion to dismiss shall

not trigger an automatic stay of discovery under O.C.G.A. § 9-11-12(j).

                  [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




1
  Produce these records in Excel format, which can be done automatically for both Verizon and
AT&T phones. For Verizon numbers, access the “Calls & Messages” tab for “View My Bill” to
create spreadsheets. For AT&T numbers, go to “Billing & Payment,” select “View My Bill,”
select “Usage,” select “Data, text, & talk logs,” and select “Excel” in the top-right corner of the
window.

                                                2
65864422v.2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 112 of 136




         The Court also authorizes the immediate commencement of discovery. Randstad is

DIRECTED to send a copy of this Order to Robles by e-mail and mail or, if Robles is represented,

to her counsel.

         SO ORDERED this _____ day of October, 2020.



                                       ______________________________________
                                       Judge, Superior Court of Cobb County




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65864422v.2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 113 ofID#
                                                                       1362020-0106091-CV

                                                                                      CLERK OF SUPERIOR COURT
                                                                                       COBB COUNTY, GEORGIA
                                                                                          20106125
                          SUPERIOR COURT OF COBB COUNTY                               C. LaTain Kell Sr. - 49
                                 STATE OF GEORGIA                                     OCT 01, 2020 11:39 AM


                                                     )
RANDSTAD TECHNOLOGIES, LLC,                          )
                                                     )
                       Plaintiff,                    )   CIVIL ACTION
                                                     )
v.                                                   )   FILE NO. 2106125
                                                     )
LISETTE ROBLES,                                      )   JURY TRIAL DEMANDED
                                                     )
                       Defendant.                    )
                                                     )
                                                     )

                  PLAINTIFF'S MEMORANDUM OF LAW IN SUPPORT OF
              ITS EMERGENCY MOTION FOR EXPEDITED DISCOVERY AND
                          ORDER TO PRESERVE EVIDENCE
         Plaintiff Randstad Technologies, LLC (“Randstad”), by and through its attorneys, and

pursuant to O.C.G.A. §§ 34(b)(1-2) and Rule 6.7 of the Uniform Superior Court Rules, moves this

Court to enter an order allowing: (1) Randstad to conduct limited, expedited discovery focused on

evidence relevant to Randstad’s request for preliminary injunctive relief against Defendant Lisette

Robles (“Robles); and (2) requiring Robles to preserve evidence in advance of a hearing on

Randstad’s impending request for a preliminary injunction. 1

                       INTRODUCTION AND FACTUAL SUMMARY

         This is a restrictive covenant case. As described in detail in Randstad’s Motion for

Temporary Restraining Order (“TRO”), Robles has violated and continues to violate, her

Employee Non-Competition and Confidentiality Agreement with Randstad.                 Accordingly,

Randstad requests that the Court authorize the immediate commencement of discovery, limited

expedited discovery, and order Robles to preserve and not destroy evidence relevant to this dispute.


1
 Randstad has provided copies of its filings to Robles by email, in addition to service by overnight
express mail.


65864331v.2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 114 of 136




                                           ARGUMENT

         The Georgia Civil Practice Act permits the Court to alter the default timing of

discovery. O.C.G.A. § 9-11-34(b)(1-2), § 9-11-33(a)(2). “A court may allow expedited discovery

upon a showing of good cause.” Merial LLC v. Fidopharm, Inc., No. 1:13-CV-1207-SCJ, 2013

WL 12072140, at *2 (N.D. Ga. May 22, 2013) (granting expedited discovery in conjunction with

a motion for preliminary injunction). In assessing good cause, courts commonly consider the

following factors:

         (1) whether a motion for preliminary injunction is pending; (2) the breadth
         of the requested discovery; (3) the reason(s) for requesting expedited
         discovery; (4) the burden on the opponent to comply with the request for
         discovery; and (5) how far in advance of the typical discovery process the
         request is made.

Thyssenkrupp Elevator Corp. v. Hubbard, Civ. No. 2:13-cv-202-FTM-29SPC, 2013 WL

1953346, at *1 (M.D. Fla. May 10, 2013).

         Here, each of the relevant factors is in favor of granting Randstad’s request for expedited

discovery. First, Randstad’s Motion for TRO is pending, which Randstad anticipates will be

followed shortly thereafter by a motion for preliminary injunction. Second, as evidenced by the

proposed order attached hereto, the breath of Randstad’s requested discovery is narrowly tailored

to a limited responsive date-range of less than three months. The requests are further focused on

specifically identifying evidence relevant to Randstad’s request for interim injunctive relief, rather

than uncovering all evidence that may be relevant in this matter.




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65864331v.2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 115 of 136




         Third, it is imperative that Randstad be permitted to immediately issue discovery focused

on identifying the scope and extent of Robles’ violations of her Agreement with Randstad and to

ensure that evidence is preserved. Without this expedited discovery, there is a substantial

likelihood that Robles will continue to improperly compete against Randstad and solicit

Randstad’s customers, which would undoubtedly result in irreparable harm. See, e.g., BellSouth

Telecomms., Inc. v. MCIMetro Access Transmission Servs., LLC, 425 F.3d 964, 970 (11th Cir.

2005) (recognizing that the “loss of customers and goodwill is an irreparable injury”); Heartland

Payment Sys., LLC v. Stockwell, 446 F. Supp. 3d 1275, 1285 (N.D. Ga. 2020) (finding irreparable

harm where former employee was “facing unfair competition from a direct competitor that is

capitalizing on HPS' significant investment of time and money in Stockwell's development as a

Vice President at HPS, which cannot be remedied at law”); Pierce v. Indus. Boiler Co., 252 Ga.

558, 558, 315 S.E.2d 423, 424 (1984) (enjoining employee who worked for competitor because

employment in capacity that violated non-compete presented irreparable harm). Accordingly,

Randstad should not be forced to endure weeks or months of irreparable harm in order for

discovery to proceed in the usual course.

         Fourth, Robles’ burden to respond to the expedited discovery requests would be minimal,

absent widespread violations of or interference with Randstad’s agreements. Robles resigned from

Randstad on September 8, 2020. Thus, information responsive to Randstad’s requests should be

minimal absent widespread violations of her Agreement. Moreover, many categories of requested

documents and information are easily retrievable and should not impose an excessive burden on

Robles, even with expedited discovery deadlines. Randstad has attached its proposed expedited

discovery requests as Exhibits 1-2 to this Motion.




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65864331v.2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 116 of 136




         In sum, Randstad requests that the Court grant its motion and enter an order finding that

good cause exists to authorize limited expedited discovery, requiring Robles to respond to

Randstad’s written discovery requests and produce responsive documents within 14 days of

service, and directing that general discovery shall commence immediately. A proposed order is

attached for the Court’s convenience.




                                                 4
65864331v.2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 117 of 136




                                    Respectfully submitted,

                                    /s/ Robert C. Stevens
                                    Robert C. Stevens (Georgia Bar No. 680142)
                                    bstevens@seyfarth.com
                                    Alex Meier (Georgia Bar No. 282350)
                                    ameier@seyfarth.com
                                    SEYFARTH SHAW LLP
                                    1075 Peachtree Street, N.E.
                                    Suite 2500
                                    Atlanta, Georgia 30309-3962
                                    Telephone: (404) 885-1500
                                    Facsimile: (404) 892-7056


                                    Counsel for Plaintiff Randstad Technologies, LLC
Dated: October 1, 2020




                                        5
65864331v.2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 118 of 136




                           SUPERIOR COURT OF COBB COUNTY
                                  STATE OF GEORGIA

                                                      )
RANDSTAD TECHNOLOGIES, LLC,                           )
                                                      )
                       Plaintiff,                     )   CIVIL ACTION
                                                      )
v.                                                    )   FILE NO. 2106125
                                                      )
LISETTE ROBLES,                                       )   JURY TRIAL DEMANDED
                                                      )
                       Defendant.                     )
                                                      )
                                                      )

                                    CERTIFICATE OF SERVICE

         The undersigned certifies that, on October 1, 2020, he caused copies of the foregoing

Plaintiff’s Emergency Motion for Expedited Discovery to be served on Robles by email and mail

(overnight delivery specified) at the following addresses:

                               Lisette Robles
                               Larobles1@gmail.com
                               1319 W. 12th Street
                               Tempe, AZ 85281


                                                             /s/ Robert C. Stevens
                                                             Robert C. Stevens
                                                             Counsel for Randstad




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65864331v.2
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 119 of 136




                       EXHIBIT 1
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 120 of 136




                           SUPERIOR COURT OF COBB COUNTY
                                  STATE OF GEORGIA

                                                       )
RANDSTAD TECHNOLOGIES, LLC,                            )
                                                       )
                       Plaintiff,                      )   CIVIL ACTION
                                                       )
v.                                                     )   FILE NO. 2106125
                                                       )
LISETTE ROBLES,                                        )   JURY TRIAL DEMANDED
                                                       )
                       Defendant.                      )
                                                       )
                                                       )

                             PLAINTIFF’S SET OF EXPEDITED
                           INTERROGATORIES TO DEFENDANT

         Plaintiffs Randstad Technologies, LLC (“Randstad”), by and through its attorneys and

pursuant to O.C.G.A. § 9-11-33 of the Civil Practice Act, request that Defendant Lisette Robles

(“Robles”) provide written answers to the following interrogatories to Seyfarth Shaw LLP, 1075

Peachtree Street, N.E., Suite 2500, Atlanta, Georgia 30309, within fourteen (14) days of the date

of service of these requests or as otherwise ordered by the Court.

                             DEFINITIONS AND INSTRUCTIONS

         1.     “Randstad” or “Plaintiff” shall mean Randstad Technologies, LLC, including its

parent, subsidiary or affiliated companies, and its and their respective officers, directors,

employees, representatives, agents, and attorneys, and all other persons acting at the direction or

on behalf of it or them.

         2.     “Beacon Hill” shall mean Beacon Hill Staffing Group, LLC, including its parent,

subsidiary or affiliated companies, and its and their respective officers, directors, employees,

representatives, agents, and attorneys, and all other persons acting at the direction or on behalf of

it or them.



65864074v.2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 121 of 136




          3.   “Agreement”      shall   mean   Randstad’s     “Employee     Non-Competition        and

Confidentiality Agreement” executed by Robles.

          4.   “Customer” shall mean businesses and organizations with which Randstad has

placed Talent, and as otherwise defined in the Agreement and/or commonly used in the staffing

industry and/or at Randstad.

          5.   “Talent” shall mean direct hire candidates and temporary employees placed with

Customers, and as otherwise defined in the Agreement and/or commonly used in the staffing

industry and/or at Randstad.

          6.   “Communication(s)” shall mean the giving, receiving, transmitting, or exchanging

of information. This definition includes, without limitation, all telephone and in-person

conversations, all written correspondence, all electronic mail exchanges, all text messages, all

messages on messaging and chat platforms including but not limited to LinkedIN, Facebook, and

gmail, all advertisements, including advertisements in print, in radio, on television, over the

internet, all written memoranda, and documents, notes, or memoranda which memorialize or

refer to any such communication.

          7.   “Complaint” shall mean the Complaint filed by Randstad in the above-captioned

matter.

          8.   In the event that your answer to any of these Interrogatories is to the effect that

investigation is continuing, state:

               (a)     the identity of every person involved in conducting such investigation; and

               (b)     the nature of the investigation (e.g., whether documents are to be

                       reviewed, witnesses interviewed, etc.)




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65864074v.2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 122 of 136




         9.     These interrogatories are deemed to be continuing in nature, so that with respect

to any interrogatory or part thereof as to which Defendant, after responding, discovers additional

information, Defendant shall supplement their answers immediately after acquiring such

information.

                                      INTERROGATORIES

INTERROGATORY NO. 1:

         Identify all Randstad property in your custody, possession, or control.

ANSWER:



INTERROGATORY NO. 2:

         Identify all agreements between you and Beacon Hill.

ANSWER:



INTERROGATORY NO. 3:

      Identify all persons with whom you have had any communications about your resignation
from Randstad, your hiring by or employment with Beacon Hill, and/or your Agreement.

ANSWER:



INTERROGATORY NO. 4:

        Identify all telephone numbers, cloud storage sites, USB devices, e-mail addresses and
chat/messaging platforms, such as LinkedIN, Facebook messenger, gchat, Discord, WeChat,
Line, or similar services, Robles has used from July 1, 2020 to the present.

ANSWER:



INTERROGATORY NO. 5:

        To the extent not otherwise produced in response to Randstad’s Requests for Production,
identify all communications between you and any and all Randstad Customers or Talent from

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65864074v.2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 123 of 136




September 1, 2020 to the present, including: (a) the date of the communication; (b) the method of
the communication (e.g., telephone, e-mail, or in-person), (c) if by telephone, the phone number
called and the phone number from which the call was made; (d) the purpose and content of the
communication; and (e) all documents relating to the communication.

ANSWER:



INTERROGATORY NO. 6:

        To the extent not otherwise produced in response to Randstad’s Requests for Production,
identify all communications from July 1, 2020 to the present where you communicated with a
Randstad employee about leaving Randstad or joining Beacon Hill or where you recommended
that Beacon Hill contact any current or former Randstad employee, including: (a) the date of the
communication; (b) the method of the communication (e.g., telephone, e-mail, or in-person), (c)
if by telephone, the phone number called and the phone number from which the call was made;
(d) the purpose and content of the communication; and (e) all documents relating to the
communication.

ANSWER:



INTERROGATORY NO. 7:

        Identify your duties for Beacon Hill, including your job title, the date Beacon Hill offered
you employment, the date you accepted, who interviewed you, job duties, direct reports, indirect
reports, regions/offices under her supervision, and her supervisors.

ANSWER:



INTERROGATORY NO. 8:

        To the extent not otherwise produced in response to Randstad’s Requests for Production,
identify all communications about your work for Beacon Hill, your resignation from Randstad,
your hiring by or employment with Beacon Hill, and/or your Agreement, including: (a) the date
of the communication; (b) the method of the communication (e.g., telephone, e-mail, or in-
person), (c) if by telephone, the phone number called and the phone number from which the call
was made; (d) the purpose and content of the communication; and (e) all documents relating to
the communication.

ANSWER:




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65864074v.2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 124 of 136




INTERROGATORY NO. 9:

       Identify and describe in detail any and all instructions, recommendations, or guidance
that Beacon Hill provided to you regarding your departure from Randstad, such as whether to
provide notice, whether to change or not change your LinkedIn profile, when and whether to
contact your former clients, and any information about providing notice of your resignation to
Randstad.

ANSWER:



INTERROGATORY NO. 10:

       Is it your contention that the Agreement is unenforceable? If so, identify why you
contend the Agreement is unenforceable, including all material facts underlying your contention.

ANSWER:



                                          Respectfully submitted,

                                          /s/Robert C. Stevens
                                          Robert C. Stevens (Georgia Bar No. 680142)
                                          bstevens@seyfarth.com
                                          Alex Meier (Georgia Bar No. 282350)
                                          ameier@seyfarth.com
                                          SEYFARTH SHAW LLP
                                          1075 Peachtree Street, N.E.
                                          Suite 2500
                                          Atlanta, Georgia 30309-3962
                                          Telephone: (404) 885-1500
                                          Facsimile: (404) 892-7056


                                          Counsel for Plaintiff Randstad Technologies, LLC
Dated: October 1, 2020




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65864074v.2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 125 of 136




                           SUPERIOR COURT OF COBB COUNTY
                                  STATE OF GEORGIA

                                        )
RANDSTAD TECHNOLOGIES, LLC,             )
                                        )
                Plaintiff,              ) CIVIL ACTION
                                        )
v.                                      ) FILE NO. 2106125
                                        )
LISETTE ROBLES,                         ) JURY TRIAL DEMANDED
                                        )
                Defendant.              )
                                        )
                                        )
                           CERTIFICATE OF SERVICE

         The undersigned certifies that, on October 1, 2020, he caused copies of the foregoing

Plaintiff’s Set of Expedited Interrogatories to Defendant to be served by email and Federal

Express to Robles at the following address:

                              Lisette Robles
                              Larobles1@gmail.com
                              1319 W. 12th Street
                              Tempe, AZ 85281


                                                             /s/ Robert C. Stevens
                                                             Robert C. Stevens
                                                             Counsel for Randstad




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65864074v.2
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 126 of 136




                       EXHIBIT 2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 127 of 136




                           SUPERIOR COURT OF COBB COUNTY
                                  STATE OF GEORGIA

                                                       )
RANDSTAD TECHNOLOGIES, LLC,                            )
                                                       )
                       Plaintiff,                      )   CIVIL ACTION
                                                       )
v.                                                     )   FILE NO. 2106125
                                                       )
LISETTE ROBLES,                                        )   JURY TRIAL DEMANDED
                                                       )
                       Defendant.                      )
                                                       )
                                                       )

                      PLAINTIFF’S SET OF EXPEDITED REQUESTS
                          FOR PRODUCTION TO DEFENDANT

         Plaintiffs Randstad Technologies, LLC (“Randstad”), by and through its attorneys and

pursuant to O.C.G.A. § 9-11-34 of the Civil Practice Act, requests that Defendant Lisette Robles

(“Robles”) produce the documents identified and described below for inspection and copying at

the offices of Seyfarth Shaw LLP, 1075 Peachtree Street, N.E., Suite 2500, Atlanta, Georgia

30309, within fourteen (14) days of the date of service of these requests or as otherwise ordered

by the Court.

                             DEFINITIONS AND INSTRUCTIONS

         1.     “Randstad” or “Plaintiff” shall mean Randstad Technologies, LLC, including its

parent, subsidiary or affiliated companies, and its and their respective officers, directors,

employees, representatives, agents, and attorneys, and all other persons acting at the direction or

on behalf of it or them.

         2.     “Beacon Hill” shall mean Beacon Hill Staffing Group, LLC, including its parent,

subsidiary or affiliated companies, and its and their respective officers, directors, employees,




65863935v.2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 128 of 136




representatives, agents, and attorneys, and all other persons acting at the direction or on behalf of

it or them.

          3.   “Agreement”      shall   mean   Randstad’s     “Employee     Non-Competition        and

Confidentiality Agreement” executed by Robles.

          4.   “Customer” shall mean businesses and organizations with which Randstad has

placed Talent, and as otherwise defined in the Agreement and/or commonly used in the staffing

industry and/or at Randstad.

          5.   “Talent” shall mean direct hire candidates and temporary employees placed with

Customers, and as otherwise defined in the Agreement and/or commonly used in the staffing

industry and/or at Randstad.

          6.   “Communication(s)” shall mean the giving, receiving, transmitting, or exchanging

of information. This definition includes, without limitation, all telephone and in-person

conversations, all written correspondence, all electronic mail exchanges, all text messages, all

messages on messaging and chat platforms including but not limited to LinkedIN, Facebook, and

gmail, all advertisements, including advertisements in print, in radio, on television, over the

internet, all written memoranda, and documents, notes, or memoranda which memorialize or

refer to any such communication.

          7.   “Complaint” shall mean the Complaint filed by Randstad in the above-captioned

matter.

          8.   All responsive documents within the possession, custody or control of Defendant,

as defined above, shall be produced.

          9.   With respect to each document otherwise responsive to a request to produce

which has been lost or destroyed since its preparation or receipt, identify the document, state the



                                                 2
65863935v.2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 129 of 136




request for production to which it would otherwise be responsive, and give the full particulars or

circumstances whereby the document was lost or destroyed.

         10.    For those produced documents that require other documents to render the

produced documents either comprehensible or not misleading, you are requested to include such

other documents as well.

         11.    These requests are deemed to be continuing in nature, so that with respect to any

request or part thereof as to which Defendant, after responding, discovers additional responsive

documents, Defendant shall produce such documents immediately after acquiring knowledge of

their existence or advise in writing as to why such additional documents cannot be provided

immediately.

                                REQUESTS FOR DOCUMENTS

REQUEST NO. 1:

         All Randstad property in your custody, possession, or control.

ANSWER:



REQUEST NO. 2:

       Any and all documents relating to, reflecting or containing communications between you
and any person affiliated with Beacon Hill since July 1, 2020.

ANSWER:



REQUEST NO. 3:

      Any and all documents and communications between you and any person or entity to
whom you provided staffing services while employed at Randstad. This request is limited to
documents and communications sent on or after July 1, 2020.

ANSWER:



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65863935v.2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 130 of 136




REQUEST NO. 4:

         All documents relating to your employment with Beacon Hill, including your personnel
file, offer letter, onboarding documents (such as email and office setup), the job description for
your position, agreements with Beacon Hill, expense reports, any applicable organizational
charts, and any documents outlining your duties or the performance of your duties for Beacon
Hill.

ANSWER:



REQUEST NO. 5:

      Any and all documents relating to your work on behalf of, or in coordination with,
Beacon Hill.

ANSWER:



REQUEST NO. 6:

      Any and all documents and communications involving you relating to Randstad or its
Customers, Talent, and/or employees from July 1, 2020 to the present.

ANSWER:



REQUEST NO. 7:

       All documents evidencing voice call records and text message records for your phone
from July 1, 2020 to the present.

ANSWER:



REQUEST NO. 8:

      Any and all documents relating to or referenced in your Answers to Randstad’s Set of
Expedited Interrogatories.

ANSWER:




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65863935v.2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 131 of 136




                                    Respectfully submitted,

                                    /s/ Robert C. Stevens
                                    Robert C. Stevens (Georgia Bar No. 680142)
                                    bstevens@seyfarth.com
                                    Alex Meier (Georgia Bar No. 282350)
                                    ameier@seyfarth.com
                                    SEYFARTH SHAW LLP
                                    1075 Peachtree Street, N.E.
                                    Suite 2500
                                    Atlanta, Georgia 30309-3962
                                    Telephone: (404) 885-1500
                                    Facsimile: (404) 892-7056


                                    Counsel for Plaintiff Randstad Technologies, LLC
Dated: October 1, 2020




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65863935v.2
        Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 132 of 136




                           SUPERIOR COURT OF COBB COUNTY
                                  STATE OF GEORGIA

                                                      )
RANDSTAD TECHNOLOGIES, LLC,                           )
                                                      )
                       Plaintiff,                     )   CIVIL ACTION
                                                      )
v.                                                    )   FILE NO. 2106125
                                                      )
LISETTE ROBLES,                                       )   JURY TRIAL DEMANDED
                                                      )
                       Defendant.                     )
                                                      )
                                                      )

                                    CERTIFICATE OF SERVICE

         The undersigned certifies that, on October 1, 2020, he caused copies of the foregoing

Plaintiff’s Set of Expedited Requests for Production to Defendant to be served by email and

Federal Express at the following address:

                              Lisette Robles
                              Larobles1@gmail.com
                              1319 W. 12th Street
                              Tempe, AZ 85281


                                                             /s/ Robert C. Stevens
                                                             Robert C. Stevens
                                                             Counsel for Randstad




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65863935v.2
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 133 of 136
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 134 of 136
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 135 of 136
Case 1:20-cv-04105-SCJ Document 1-1 Filed 10/05/20 Page 136 of 136
